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                          No. 23-3166
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       IN THE UNITED STATES COURT OF APPEALS
               FOR THE THIRD CIRCUIT
                 ________________________

      PENNSYLVANIA CONFERENCE OF THE NAACP, et al.,
                                    v.
   SECRETARY COMMONWEALTH OF PENNSYLVANIA, et al.

          REPUBLICAN NATIONAL COMMITTEE;
   NATIONAL REPUBLICAN CONGRESSIONAL COMMITTEE;
       THE REPUBLICAN PARTY OF PENNSYLVANIA,
                                                        Appellants.
                      ________________________

  On Appeal from the United States District Court for the
  Western District of Pennsylvania, Case No. 1:22-cv-00339
                  ________________________

      APPELLANTS’ AND PROPOSED INTERVENOR’S
          EMERGENCY MOTION FOR A STAY
               ________________________
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                           INTRODUCTION

     For weeks after Election Day, the people of Towamencin Township,

Pennsylvania, believed that Richard Marino had won reelection to the

Board of Supervisors. When election officials counted all ballots under

the rules in effect on Election Day, Marino won by four votes. Then came

the District Court’s order. Two weeks after Election Day, the District

Court invoked the Civil Rights Act’s Materiality Provision, 52 U.S.C.

§ 10101(a)(2)(B), to declare unlawful Pennsylvania’s longstanding rule

that voters must date their absentee or mail-in ballots. Relying on that

order, the Montgomery County Board of Elections belatedly counted

ballots that do not comply with the date requirement and certified

Marino’s opponent, Kofi Osei, the winner.

     This happened only because Towamencin Township is located in

one of the 12 counties subject to the District Court’s order. It could not

have happened in any of the 55 Pennsylvania counties the District Court

dismissed: those county boards remain bound by the Pennsylvania

Supreme Court’s 2022 order, which upheld the date requirement and

prohibited counting ballots that fail to comply with it.         See Ball v.

Chapman, 284 A.3d 1189, 1192 (Pa. 2022).



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     The District Court’s ruling conflicts not only with Ball, but also

with the statement of three Justices that the conclusion that the date

requirement violates the Materiality Provision is “very likely wrong.”

Ritter v. Migliori, 142 S. Ct. 1824, 1824 (2022) (Alito, J., dissental). And

it runs counter to the Fifth Circuit’s construction of the Materiality

Provision. See Vote.Org v. Callanen, 39 F.4th 297, 305 n.6 (5th Cir. 2022).

     The public interest overwhelmingly favors a stay of the District

Court’s order and judgment pending appeal.             The District Court

improperly changed the rules of Marino’s election after the votes were

tallied, undermining the election’s legitimacy and risking “severe[]

damage [to] the electoral system.”          Republican Party of Pa. v.

Degraffenreid, 141 S. Ct. 732, 735 (2021) (Thomas, J., dissental). The

order, moreover, threatens to unleash chaos in Pennsylvania’s 2024

elections. In three recent years—2020, 2021, and (apparently) 2023—an

election result was flipped when officials counted ballots that did not

comply with the date requirement. It is easy to foresee that happening

again in the hotly contested 2024 elections in which millions of

Pennsylvanians will vote for President, U.S. Senator, and other

important offices. And the order mandates disparate treatment of ballots



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between the 12 counties subject to it and the 55 dismissed counties,

promising confusion, an erosion of voter confidence, and even a potential

violation of the Equal Protection Clause. See Bush v. Gore, 531 U.S. 98,

105-07 (2000) (violation where “the standards for accepting or rejecting

… ballots … vary … from county to county”).

     The order also threatens multiple types of irreparable harm. Most

obviously, Mr. Marino is barred from taking office, frustrating the will of

Towamencin Township voters.           Appellants, their voters, and their

candidates face irreparable harm to their right to participate in free and

fair elections—and the Commonwealth is irreparably harmed by

invalidation of the General Assembly’s duly enacted law.

     In election-law cases, federal courts frequently enter stays

regardless of the merits to head off judicial changes to election rules close-

in-time to an election. See, e.g., Reynolds v. Sims, 377 U.S. 533, 585

(1964); Merrill v. Milligan, 142 S. Ct. 879, 880 (2022) (Kavanaugh, J.,

concurral). The Court should likewise do so here. Even if the Court

applies the traditional requirements for a stay, Appellants easily satisfy

them. Appellants are likely to prevail on the merits because the District

Court’s interpretation of the Materiality Provision is incorrect.        The



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Court should enter a stay and clarify that the order does not impose any

obligations on election officials in the 2023 election or future elections,

pending review by this Court and the U.S. Supreme Court.

     Time is of the essence. Osei is scheduled to be sworn into office on

January 2, 2024. Expedited consideration is warranted to ensure that

Marino is timely certified as the winner and that Appellants can seek

further review in the U.S. Supreme Court if necessary.            Appellants

therefore respectfully request that the Court expedite briefing and issue

a decision no later than December 15, 2023.

                            BACKGROUND

   A. The Pennsylvania Supreme Court Upholds The Date Requirement
      In 2022.

     Pennsylvania has long required individuals voting by mail to date

their ballot. See 1945 Pa. Laws 29, 37; 25 P.S. §§ 3146.6(a), 3150.16(a).

This requirement has been the target of continual litigation in recent

years. After several failed state-court challenges, individuals filed a

federal lawsuit claiming that the requirement violates the Materiality

Provision. This Court agreed, but the U.S. Supreme Court vacated that

decision. See Migliori v. Cohen, 36 F.4th 153, vacated sub nom. Ritter v.

Migliori, 143 S. Ct. 297 (2022). When addressing a stay request on the


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emergency docket, three Justices opined that this Court’s now-vacated

holding was “very likely wrong.” Ritter, 142 S. Ct. at 1824 (Alito, J.,

dissental).

     The Pennsylvania Supreme Court has also declined to follow

Migliori. In 2022, it affirmed that any absentee or mail-in ballot that

fails to comply with the date requirement is invalid and ruled, by an

equally divided vote, that the requirement does not violate the

Materiality Provision. Ball, 284 A.3d at 1192; see Ball v. Chapman, 289

A.3d 1 (Pa. 2023); Bonner v. Chapman, 298 A.3d 153, 167-68 (Pa.

Commw. Ct. 2023). It therefore prohibited all 67 county boards from

counting such noncompliant ballots. See Ball, 289 A.3d 1.

   B. The District Court Invalidates The Date Requirement In 12
      Counties.

     Plaintiffs filed this lawsuit shortly thereafter against all 67

Pennsylvania counties and the Secretary of the Commonwealth. ECF

No. 1 ¶ 1. Appellants intervened as defendants. ECF No. 167.

     On competing summary judgment motions, the District Court

concluded that Plaintiffs had standing to bring their Materiality

Provision claim against the Secretary and 12 county boards, but not

against the remaining 55 county boards, which it dismissed. ADD.34.


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On the merits, it held that the date requirement violates the Materiality

Provision and entered a “declaratory judgment” against the 12 county

boards and the Secretary. ADD.61-73; ECF No. 348 at 4.

   The “declaratory judgment” does not run against the 55 dismissed

county boards.    Nor does the District Court’s injunction against the

Secretary, see ECF No. 348 at 5, change the obligations of any county

board. The Secretary “does not have control over the County Boards’

administration of elections, as the General Assembly conferred such

authority solely upon the County Boards.” RNC v. Schmidt, No. 447 M.D.

2022 (Pa. Commw. Ct. Mar. 23, 2023) (slip op. at 19-20); see also 25 P.S.

§ 2642. The 55 dismissed county boards therefore remain subject to the

Pennsylvania Supreme Court’s order to enforce the date requirement by

not counting any noncompliant ballot. See Ball, 289 A.3d 1.

   C. Election Officials Belatedly Flip The Apparent Result Of A 2023
      Race.

   Marino is the vice chairman of the Towamencin Township Board of

Supervisors who ran for reelection in the November 7, 2023 election.

Marino Decl., ADD.78 ¶¶ 3, 6. Under the rules in effect on Election

Day—and under which Towamencin Township citizens voted—Marino

prevailed by 4 votes. Id. ¶ 7.


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     The District Court’s order issued two weeks later. The Montgomery

County Board of Elections then invoked the order to flip the apparent

result of Marino’s race. See ADD.78-79 ¶¶ 8-16. It did so by counting 6

noncompliant ballots, declaring the race a tie, and, on November 30,

declaring Osei the winner through a casting of lots. See id. ¶¶ 9-12.

Absent a stay, Osei will be sworn into office on January 2, 2024. See

ADD.79 ¶ 15.

   D. Voters File A Contest And Appellants Seek A Stay.

     Towamencin Township voters have filed a contest to the

Montgomery County Board’s certification of Osei as the winner. See

Petition, In Re: Contest of Nov. 7, 2023 Election of Towamencin Township

Supervisor, No. 2023-26306 (Ct. Comm. Pls. of Mont. Cty.) (ADD.86). The

Montgomery County Board’s sole basis for counting the noncompliant

ballots is the District Court’s order. See Montgomery County General

Election Certification Postponed Due To Court Ruling (Nov. 22, 2023)

(ADD.113-14).

     A stay of the order, therefore, will eliminate the Montgomery

County Board’s only basis for certifying Osei as the winner. See ADD.93-

96 ¶¶ 17-30. Accordingly, Appellants moved the District Court for a stay


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and, given the imminent expiration of Marino’s term, asked for an

expedited ruling by December 8, 2023. ECF No. 353 at 1-2. On December

4, the District Court denied the request for expedition without

explanation and set a December 11 response deadline, ECF No. 361,

meaning it will not rule by December 8. It also provided no timeline for

a ruling. See id. Marino needs immediate review by this Court to ensure

he can seek Supreme Court review before his term expires and Osei takes

office. See Fed. R. App. P. 8(a)(2)(A).

     Appellants filed a notice of appeal on December 6, 2023.

                        STANDARD OF REVIEW

     In election-law cases, the “traditional test for a stay does not apply”

and the public interest alone is often dispositive. Merrill, 142 S. Ct. at

880 (Kavanaugh, J., concurral). Courts can stay injunctions based solely

on the disruption caused by election-rule changes while expressing “no

opinion” on the merits. Purcell v. Gonzalez, 549 U.S. 1, 5 (2006) (per

curiam).

     Under the traditional stay factors, this Court weighs (1) Appellants’

likelihood of success on the merits, (2) their irreparable harm absent a




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stay, (3) whether a stay would substantially injure Plaintiffs, and (4) the

public interest. In re Citizens Bank, 15 F.4th 607, 615 (3d Cir. 2021).

                              ARGUMENT

     This Court should grant a stay. The District Court’s order has

resulted in retroactively changing the rules and outcome of an election,

has created inconsistent election rules across the Commonwealth, and

threatens electoral chaos in 2024. It also will impose severe irreparable

harms and is likely to be reversed.

I. THE PUBLIC INTEREST FAVORS A STAY.

     For at least three reasons, the public interest demands a stay.

     First, the District Court’s order has resulted in changing the rules

and apparent outcome of Marino’s election—and did so weeks after

balloting. Judicial changes to election rules are not allowed even shortly

before Election Day because they undermine “[c]onfidence in the integrity

of our electoral processes.” Purcell, 549 U.S. at 4. That rule applies “with

much more force on the back end of elections.” Trump v. Wis. Elections

Comm’n, 983 F.3d 919, 925 (7th Cir. 2020). Orders before Election Day

are made behind the veil of ignorance; neither the court nor the public

knows what effect, if any, they will have on the outcome. By contrast,



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orders “after election day” create suspicions that federal courts are

picking election winners—particularly where, as here, they do flip an

apparent result. Republican Party of Pa., 141 S. Ct. at 735 (Thomas, J.,

dissental). A stay reiterating that the date requirement governed the

2023 election results avoids that harm.

     Second, the order has created disuniformity in the application of

the date requirement across the Commonwealth. The District Court’s

order declares that noncompliant ballots must be counted in 12 counties,

but the Pennsylvania Supreme Court’s Ball judgment mandates that

such ballots must not be counted in the other 55 counties. The order’s

disparate treatment of otherwise-identical ballots creates a serious Equal

Protection problem and frustrates the public interest in uniform election

administration. See Reynolds, 377 U.S. at 555 (“[T]he right of suffrage

can be denied by a debasement or dilution of the weight of a citizen’s vote

just as effectively as by wholly prohibiting the free exercise of the

franchise.”); Bush, 531 U.S. at 105-07.

     Third, the order will result in uncertainty, an erosion of voter

confidence, and potential chaos in 2024. Pennsylvania elections have

been hotly contested in recent years—and counting undated ballots has



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changed the outcome in three races since 2020.             See Alleman Decl.,

ADD.84-85 ¶¶ 34-37.

     The order could plausibly change the outcome of at least one race

in 2024. That outcome would be particularly damaging to the public

interest if the race, such as the Senate or Presidential race, involves

voters from multiple counties, some of which are—and others of which

are not—subject to the order. In that scenario, the election result could

be flipped by the combination of counting noncompliant ballots in a

county subject to the order but not counting identical ballots in another

county. Such an outcome would both raise Equal Protection concerns, see

Reynolds, 377 U.S. at 555; Bush, 531 U.S. at 105-07, and erode voter

confidence in the election, see Purcell, 549 U.S. at 4-5. The Court should

grant a stay and prevent this parade of harms from being unleashed on

the Commonwealth, its citizens, and its elections.

II. A STAY AVOIDS SEVERE IRREPARABLE HARM.

     Multiple irreparable harms will occur absent a stay.

     First,   denying    Marino       “the   opportunity   to   serve”      causes

“irreparable injury” to him and “serious[] harm” to the voters who

“elected him.” Kupau v. Yamamoto, 622 F.2d 449, 457 (9th Cir. 1980).



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Every day from January 1 onwards that Mr. Marino is denied office is a

day of irreparable harm.

     Second, Appellants, their voters, and their candidates face various

irreparable harms in future elections.           Those harms include being

subjected to disparate treatment based on county geography, see supra

at 10-11, changes to the competitive environment in which they exercise

their constitutional rights to participate in elections, see ADD.84-85

¶¶ 32-38, and the potential flipping of future election results to their

detriment, see id. The harms also include the diversion of resources away

from the Republican Party of Pennsylvania’s mission of nominating,

promoting, and assisting Republican candidates and voters and toward

modifying its training and voter-education materials to reflect the order.

See id. ¶¶ 9-28.

     Third, the order inflicts irreparable harm on Pennsylvania and its

citizens. Invalidating a sovereign state’s law “clearly inflicts irreparable

harm,” Abbott v. Perez, 138 S. Ct. 2305, 2324 n.17 (2018), and does

irreparable “damage … to the authority of” the General Assembly, DNC

v. Wis. State Legislature, 141 S. Ct. 28, 30 (2020) (Gorsuch, J., concurral).

This federal judicial interference also confuses voters, confounds election



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administrators, deters voting, erodes confidence in election outcomes,

and causes many other “unanticipated consequences.”                 Id. at 31

(Kavanaugh, J., concurral).

     Finally, Plaintiffs will not be “substantially injure[d]” by a stay.

Citizens Bank, 15 F.4th at 615. Pennsylvania’s date requirement has

governed mail ballots since the 1940s. Plaintiffs waited until 2022 to

challenge it, suggesting they will not be especially injured by temporarily

maintaining the status quo.          Indeed, Plaintiffs never asked for a

preliminary injunction—even after the District Court endorsed their

merits theory in June, ECF No. 329—suggesting their potential harms

are not urgent. See Wreal, LLC v. Amazon.com, Inc., 840 F.3d 1244, 1248

(11th Cir. 2016) (“[A] party’s failure to act with speed or urgency in

moving for a preliminary injunction necessarily undermines a finding of

irreparable harm.”). The Court should grant a stay.

III. APPELLANTS ARE LIKELY TO SUCCEED ON THE MERITS.

   A. The Date Requirement Cannot Violate the Materiality Provision.

     “States may, and inevitably must, enact reasonable regulations of

parties, elections, and ballots to reduce election- and campaign-related

disorder.” Timmons v. Twin Cities Area New Party, 520 U.S. 351, 358

(1997). Yet according to the District Court, the Materiality Provision

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prohibits states from adopting any mandatory paper-based election rule

unless it is used to determine voter eligibility. See ADD.66.

     That makes no sense: “[i]t cannot be that any requirement that may

prohibit an individual from voting if the individual fails to comply denies

the right of that individual to vote under” the Materiality Provision.

Vote.Org, 39 F.4th at 305 n.6.             Almost every state, including

Pennsylvania, determines voter eligibility during a voter-registration

process.   See, e.g., U.S. Election Assistance Comm’n, Voter FAQs,

https://www.eac.gov/voters/voter-faqs (last visited Dec. 2, 2023) (noting

49 states require voters “to be registered to vote to participate in an

election” and that “[e]ligibility requirements” assessed during process

“vary by state”). The Materiality Provision governs only qualification

determinations during that process, not “the counting of ballots by

individuals already deemed qualified to vote.” Friedman v. Snipes, 345

F. Supp. 2d 1356, 1371 (S.D. Fla. 2004); see Vote.Org, 39 F.4th at 305 n.6.

Thus, the date requirement cannot violate the Materiality Provision

because it is inapplicable to voter registration.

     The Materiality Provision forbids state actors to:

     deny the right of any individual to vote in any election because
     of an error or omission on any record or paper relating to any


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     application, registration, or other act requisite to voting, if
     such error or omission is not material in determining whether
     such individual is qualified under State law to vote in such
     election.

52 U.S.C. § 10101(a)(2)(B).

     In at least three ways, the Materiality Provision’s plain text

confirms that the date requirement cannot violate it. First, it applies

only to a “record or paper” related to an “application, registration, or

other act requisite to voting.”       Id.   The words “registration” and

“application” refer to documents used in “voter registration specifically.”

Vote.Org, 39 F.4th at 305 n.6. The relevant legislative history shows

Congress used those words interchangeably to refer to voter registration.

H.R. Rep. 88-914 at 2445 (1963) (referring to “application to register”);

id. at 2491 (referring to efforts to “defeat [African-American]

registration” by “rejecting [African-American] applications” to vote); id.

(faulting “registrars” for “rejecting [African-American] application[s]” in

registration process); cf. In re Sinclair, 870 F.2d 1340, 1342 (7th Cir.

1989) (Easterbrook, J.) (endorsing such use of legislative history).

     The date requirement is not applied during Pennsylvania’s voter

registration process.   It governs the casting of absentee and mail-in

ballots and, as the District Court explained, applies only to voters who


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“ha[ve] previously been determined to be eligible and qualified to vote.”

ADD.67.

     Nor is dating a ballot an “other act requisite to voting” under the

Materiality Provision, because that catchall phrase likewise refers only

to voter registration. § 10101(a)(2)(B). “[W]here general words follow an

enumeration of specific items, [they] are read as applying only to other

items akin to those specifically enumerated.” Harrison v. PPG Indus.,

446 U.S. 578, 588 (1980). Thus, the phrase “other act requisite to voting”

must be “controlled and defined by reference to the enumerated

categories,” Circuit City Stores v. Adams, 532 U.S. 105, 115 (2001), of

“application” and “registration,” see Ball, 289 A.3d at 38 n.11 (opinion of

Brobson, J.). Indeed, failure to apply the ejusdem generis canon would

render the words “registration” and “application” superfluous—an

outcome courts must “avoid[].” Freeman v. Quicken Loans, Inc., 566 U.S.

624, 635 (2012).

     Only that reading of the Materiality Provision harmonizes with

precedent and Congress’s statutory aim: preventing states from

“defeat[ing] [African-American voter] registration.” H.R. Rep. No. 88-

914, pt. 2, at 5.   During the 1960s, southern states blocked African



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Americans’ voter registrations through the “practice of requiring

unnecessary information for voter registration”—like listing the

registrant’s “exact number of months and days in his age.” Schwier v.

Cox, 340 F.3d 1284, 1294 (11th Cir. 2003). “Such trivial information

served no purpose other than as a means of inducing voter-generated

errors that could be used to justify rejecting applicants.” Fla. State Conf.

of NAACP v. Browning, 522 F.3d 1153, 1173 (11th Cir. 2008).

Simultaneously, “registrars” in southern states “overlook[ed] minor

misspelling errors or mistakes in age or length of residence of white

applicants, while rejecting” African-Americans’ applications “for the

same or more trivial reasons.” H.R. Rep. No. 88-914, pt. 2, at 5.

     The Materiality Provision barred that practice by prohibiting the

“[d]enial of the right to vote in any federal election because of immaterial

omissions or errors in registration forms.” Warren M. Christopher, The

Constitutionality of the Voting Rights Act of 1965, 18 Stan. L. Rev. 1, 7

(1965); H.R. Rep. No. 88-914, pt. 2, at 5.       That is why the Materiality

Provision applies “only” in the context of “voter registration specifically.”

Vote.Org, 39 F.4th at 305 n.6. And that is why, until very recently, courts

“have applied the [Materiality Provision]” only “in the context of voter



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registration.” Thrasher v. Ill. Republican Party, 2013 WL 442832, at *3

(C.D. Ill. Feb. 5, 2013); Friedman, 345 F. Supp. at 1371.

     Second, the Materiality Provision requires that the paper or record

be used “in determining” the voter’s qualifications.        § 10101(a)(2)(B).

When used with a “verbal noun[]”—here, “determining”—the word “in” is

typically “equivalent in sense to a temporal clause introduced by when,

while, if.” In, prep., def. 21(b), Oxford English Dictionary (3d ed. 2021,

rev. online Mar. 2023). The provision thus only applies to actions state

officials take when determining a voter’s eligibility. See Ball, 289 A.3d at

38 (opinion of Brobson, J.).

     In Pennsylvania, as in virtually every state, the “determin[ation]

whether [an] individual is qualified to vote” happens during the voter-

registration process. See 25 P.S. § 1301(b). As a regulation of mail-in

voting, the date requirement applies only after the Commonwealth has

already found the voter qualified. See ADD.67. Asking whether rules

outside the voter-registration process (like the date requirement) are

material to making a qualification determination that must occur during

the voter-registration process is like asking if a football player struck out




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swinging. The Materiality Provision’s reference to voter “qualifi[cation]”

proves that it applies only to the registration process.

     The structure of § 10101 underscores this point. The subparagraph

immediately preceding the Materiality Provision uses a substantially

identical phrase—“in determining whether any individual is qualified

under State law or laws to vote in any election”—to introduce a

prohibition on disparate treatment in voter-eligibility determinations

during voter registration.    § 10101(a)(2)(A).    And the subparagraph

following the Materiality Provision, banning literacy tests commonly

used in southern states during voter registration, e.g., Lassiter v.

Northampton Cty. Bd. of Elections, 360 U.S. 45, 46 (1959), is likewise

limited to “qualification” determinations, § 10101(a)(2)(C). See H.R. Rep.

No. 88-914, pt. 2, at 19 (“Section [10]101(a) is designed to insure

nondiscriminatory practices in the registration of voters”). In contrast,

when Congress wanted to prohibit intimidation in the act of voting, it

sensibly set that topic apart in its own subsection, § 10101(b), rather than

stuff it between provisions about voter registration and qualification.

     Further, subsection (e) empowers courts to address systemic

violations of “any right or privilege secured by subsection (a),” including



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the Materiality Provision (emphasis added).         Yet the only remedy it

authorizes is a declaration that an individual “is qualified under State

law to vote” but has been denied the opportunity “to register … or

otherwise qualify to vote” or has been wrongly “found not qualified to

vote.”    Id.   If the Materiality Provision extended beyond voter-

qualification determinations, this subsection would not enable courts to

address the violation of “any right” secured by it. Id. (emphasis added).

     Third, the Materiality Provision prohibits only “deny[ing] the right

of any individual to vote,” not imposing mandatory ballot-casting rules

like the date requirement. § 10101(a)(2)(B). The phrase “right … to vote”

had a well-established meaning in the mid-1960s. E.g., Baker v. Carr,

369 U.S. 186, 247 (1962) (Douglas, J., concurring) (the “right to vote” was

“protected by the judiciary long before that right received the explicit

protection it is now accorded” in the civil-rights statutes).              The

Materiality Provision’s “right … to vote” would not have been originally

understood to protect voting by mail.         McDonald v. Bd. of Election

Comm’rs, 394 U.S. 802, 807 (1969). And it certainly does not prohibit

application of neutral state-law voting rules to the act of voting. Rosario

v. Rockefeller, 410 U.S. 752, 757 (1973); Wis. State Leg., 141 S. Ct. at 35



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(Kavanaugh, J., concurral). (“[A] State’s election [rule] does not

disenfranchise voters who are capable of [following it] but fail to do so.”).

Instead, it forbids baselessly denying a voter’s registration application—

an action that actually disenfranchises the applicant. See Reynolds, 377

U.S. at 555.

     The date requirement cannot “deny” the “right … to vote.” Election

officials enforcing the date requirement do not “disqualify potential

voters,” remove them from the voter-registration list, or prevent future

voting. Schwier, 340 F.3d at 1294.           Instead, they do not count

noncompliant ballots “because [individuals] did not follow the rules for

casting [them].” Ritter, 142 S. Ct. at 1825 (Alito, J., dissental).

   B. The District Court’s Reasoning Is Flawed.

     The District Court gave three reasons for rejecting Appellants’

arguments. All are unpersuasive.

     First, the District Court held that the sole legitimate purpose of any

paper-based election regulation is “determining whether [an] individual

is qualified to vote under Pennsylvania law.” ADD.62. But many state-

law voting rules laws have nothing to do with voter registration or

assessing qualifications. E.g., Anderson v. Celebrezze, 460 U.S. 780, 788



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(1983) (distinguishing between state laws that “govern[] the registration

and qualifications of voters” and “the voting process itself”).          The

Materiality Provision regulates only qualification determinations during

the voter-registration process, but the date requirement applies only

outside voter registration and only to voters previously found “eligible

and qualified to vote.” ADD.69. That the date requirement is not used

to assess voter qualifications only illustrates the District Court’s error,

not a Materiality Provision violation.

     Indeed, the date requirement serves other purposes, like

“prevention of fraud” and facilitating the “counting of votes.” Smiley v.

Holm, 285 U.S. 355, 366 (1932); see In re Canvass of Absentee and Mail-

In Ballots of Nov. 3, 2020 Gen. Election, 241 A.3d 1058, 1090-91 (2020)

(opinion of Dougherty, J., joined by Saylor, C.J., and Mundy, J.)

(discussing date requirement’s purposes). In 2022, for instance, the date

requirement helped prove a ballot was fraudulently cast after a citizen’s

death. See ECF No. 272, Statement of Facts ¶¶ 48-55.

     The District Court’s reading prohibits states from using paper-

based requirements to further any interests besides assessing voter

qualifications. This is true no matter how vital the state’s interest or how



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necessary the rule is to secure it.        See ADD.67 n.39 (rejecting as

“irrelevant” evidence that date requirement was used to detect fraud).

This approach would render the Materiality Provision startlingly unique

in election law. Cf. Crawford v. Marion Cnty Election Bd., 553 U.S. 181,

189-90 (2008) (instructing courts to consider range of state interests for

right-to-vote claims); Brnovich v. DNC, 141 S. Ct. 2321, 2339-40 (2021)

(same for claims under Section 2 of the Voting Rights Act).

     The District Court’s approach would jeopardize many longstanding

election rules nationwide, as recent experience has shown. From 1964

until Migliori, courts enjoined hardly any state-law rules under the

Materiality Provision. But in the ensuing year-and-a-half, courts around

the country have adopted Migliori’s rationale to hold unlawful important

state laws regulating mail voting. E.g., La Unión del Pueblo Entero v.

Abbott, 2023 WL 8263348, at *14 (W.D. Tex. Nov. 29, 2023) (Texas

requirement to list identification number on mail ballot); In re Ga. Senate

Bill 202, 2023 WL 5334582, at *8 (N.D. Ga. Aug. 18, 2023) (Georgia

requirement to list birthdate on ballot); Vote.org v. Ga. State Election Bd.,

2023 WL 2432011, at *1 (N.D. Ga. Mar. 9, 2023) (Georgia requirement to

sign absentee ballot application).



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     This is only the beginning. Under the District Court’s logic, many

other widespread, commonsense paper-based regulations are now federal

civil-rights violations, because they further interests besides determining

eligibility. These include:

  • Mail-ballot signature requirements, e.g. 25 P.S. §§ 3146.6(a),
    3150.16(a); N.J. Stat. § 19:62-11(c); 15 Del. Code § 5514(a)(1);

  • Prohibitions on voting for more candidates than there are offices,
    e.g., P.S. § 3063(a); Ariz. Rev. Stat. § 16-611; 15 Del. Code
    § 4972(b)(6).

  • Requirements to maintain pollbooks, e.g., 25 P.S. § 3050; Va. Code
    § 24.2-611; Tex. Elec. Code § 63.003; and

  • Voter assistance forms, e.g., 25 P.S. § 3058; Ind. Code § 3-11.5-4-13.

See Ball, 289 A.3d at 38-39 (opinion of Brobson, J.).

     Basic principles of federalism counsel against this extreme result.

Courts must not read a statute “to significantly alter the balance between

federal and state power” absent “exceedingly clear language.” Ala. Ass’n

of Realtors v. HHS, 141 S. Ct. 2485, 2489 (2021). And federal statutes

should not be read to “hamper the ability of States to run efficient and

equitable elections, and compel federal courts to rewrite state electoral

codes.” Clingman v. Beaver, 544 U.S. 581, 593 (2005). But that is what

follows from the District Court’s reasoning.




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     It is also implausible that so many commonplace rules would stand

unchallenged for generations if, in fact, the Materiality Provision

outlawed them all nearly sixty years ago. See West Virginia v. EPA, 142

S. Ct. 2587, 2610 (2022) (“[J]ust as established practice may shed light

on the extent of power conveyed by general statutory language, so the

want of assertion of power by those who presumably would be alert to

exercise it, is equally significant in determining whether such power was

actually conferred.”). Congress did not “hide [this] elephant[]” in the

Materiality Provision’s obscure “mousehole[].” Whitman v. Am. Trucking

Ass’ns, 531 U.S. 457, 468 (2001).

     Moreover, the District Court’s construction risks rendering the

Materiality   Provision   unconstitutional.      Congress      enacted   the

Materiality Provision under its power “to enforce th[e] [Fifteenth]

Amendment[.]” United States v. Mississippi, 380 U.S. 128, 138 (1965).

That power is subject to important limits. See Nw. Austin Mun. Util.

Dist. No. One v. Holder, 557 U.S. 193, 205 (2009). Among them, an

enforcement statute must be justified by the “evidence in the record”

assembled by the enacting Congress. City of Boerne v. Flores, 521 U.S.

507, 525 (1997). When enacting the Materiality Provision, Congress



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marshalled evidence of racially discriminatory practices in voter

registration. See supra at 16-17. The District Court’s reinterpretation

would decouple the provision’s reach from Congress’s findings—placing

the statute in constitutional jeopardy.          Constitutional avoidance

therefore requires rejecting the District Court’s interpretation. See Clark

v. Martinez, 543 U.S. 371, 380-81 (2005).

      Second, the District Court justified its decoupling of the Materiality

Provision from voter registration by relying on the statutory definition of

“vote,” which it claimed is “expansive.” ECF No. 347 at 65. But the

provision only protects against errors during voter registration. Supra at

19.   In any event, “vote” is not the relevant statutory term.            The

Materiality Provision reaches only denials of the “right … to vote,” not

neutral and mandatory rules that govern the act of voting. See Rosario,

410 U.S. at 757; supra at 20.

      Third, the District Court relied on thin and unpersuasive authority

to support its ruling. Its primary authority was this Court’s vacated

opinion in Migliori, but vacatur “of necessity … deprive[d] [Migliori] of

precedential effect.” L.A. Cty. v. Davis, 440 U.S. 625, 634 n.6 (1979).

      Nor is Migliori persuasive. This Court considered Migliori on an



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“expedited” basis, 36 F.4th at 156, and underdeveloped briefing that one

panel member faulted for overlooking important arguments, see id. at

165-66 (Matey, J., concurring in the judgment). Indeed, the Migliori

briefing did not make most of Appellants’ current arguments and barely

developed the rest. Presented with new information, this Court should

adopt the reasoning of three Justices of the Supreme Court, the

Pennsylvania Supreme Court, and the Fifth Circuit.                Reinstating

Migliori would only exacerbate intrastate division and create a circuit

split, necessitating Supreme Court review.

      The only other on-point cases cited by the District Court were from

out-of-circuit district courts.   Those decisions—which prove that the

reinvented Materiality Provision will sweep aside many paper-based

election rules—reinforce the urgency of not following Migliori.

                             CONCLUSION

     This Court should stay the District Court’s order pending appeal by

December 15, 2023.




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Dated: December 7, 2023              Respectfully submitted,

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                     COMBINED CERTIFICATIONS

     1.      Pursuant to Third Circuit L.A.R. 28.3(d), at least one of the

attorneys whose names appear on this motion, including the

undersigned, is a member in good standing of the bar of this Court.

     2.      This brief complies with the word limit of Fed. R. App. P.

27(d)(2) because, excluding the parts of the document exempted by Fed.

R. App. P. 32(f), this document contains 5,200 words. This brief also

complies with the typeface requirements of Fed. R. App. P. 32(a)(5) and

the type-style requirements of Fed. R. App. P. 32(a)(6) because this

document has been prepared in a proportionally spaced 14-point serif

font (Century Schoolbook Std), using Microsoft Word.

     3.      Pursuant to Third Circuit L.A.R. 31.1(c), Microsoft Safety

Scanner version 1.387.711.0 has been run on this electronic file and no

virus was detected.


Dated: December 7, 2023                 /s/ John M. Gore
                                        John M. Gore
                                        Counsel for Intervenor-Defendants




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                        CERTIFICATE OF SERVICE

     I hereby certify that on December 7, 2023, this motion was

electronically filed with the Clerk of Court using the appellate CM/ECF

system. Service on counsel for all parties in the district court has been

accomplished via notice filed through the district court’s CM/ECF system

attaching a copy of this filing.


Dated: December 7, 2023                /s/ John M. Gore
                                       John M. Gore
                                       Counsel for Intervenor-Defendants




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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF PENNSYLVANIA
                                        ERIE DIVISION

    PENNSYLVANIA STATE CONFERENCE                   )
    OF THE NAACP, LEAGUE OF WOMEN                   )
    VOTERS OF PENNSYLVANIA,                         )   CASE NO. 1:22-CV-00339
                                                    )
    PHILADELPHIANS ORGANIZED TO                     )
    WITNESS, EMPOWER AND REBUILD,                   )   SUSAN PARADISE BAXTER
    COMMON CAUSE PENNSYLVANIA,                      )   UNITED STATES DISTRICT JUDGE
    BLACK POLITICAL EMPOWERMENT                     )
    PROJECT, MAKE THE ROAD                          )
                                                    )   MEMORANDUM OPINION ON CROSS
    PENNSYLVANIA, MARLENE G.                            MOTIONS FOR SUMMARY JUDGMENT
    GUTIERREZ, BARRY M. SEASTEAD,                   )
                                                    )
    AYNNE MARGARET PLEBAN                           )   IN RE: ECF Nos. 267, 270, 271 and 274
    POLINSKI, LAURENCE M. SMITH, JOEL               )
    BENCAN,                                         )
                                                    )
                                                    )
               Plaintiffs,                          )
                                                    )
         vs.                                        )
                                                    )
    AL SCHMIDT, IN HIS OFFICIAL                     )
    CAPACITY AS ACTING SECRETARY1                   )
    OF THE COMMONWEALTH, ADAMS                      )
    COUNTY BOARD OF ELECTIONS,                      )
    ALLEGHENY COUNTY BOARD OF                       )
                                                    )
    ELECTIONS, ARMSTRONG COUNTY                     )
    BOARD OF ELECTIONS, BEAVER                      )
    COUNTY BOARD OF ELECTIONS,                      )
    BEDFORD COUNTY BOARD OF                         )
    ELECTIONS, BERKS COUNTY BOARD                   )
    OF ELECTIONS, BRADFORD COUNTY                   )
    BOARD OF ELECTIONS, BLAIR                       )
                                                    )
    COUNTY BOARD OF ELECTIONS,                      )
    BUCKS COUNTY BOARD OF                           )

1
  According to the Pennsylvania Department of State’s website, Al Schmidt officially became the
Secretary of the Commonwealth on June 29, 2023. See http://www.dos.pa.gov/about-
us/Pages/Secretary-of-the-Commonwealth. The Court takes judicial notice of information that is
publicly available on government websites. Vanderklok v. United States, 868 F.3d 189, 205 n.16
(3d Cir. 2017) (citing Daniels-Hall v. Nat’l Educ. Ass’n, 629 F.3d 992, 998 (9th Cir. 2010)). See
also Kengerski v. County of Allegheny, 2023 WL 348959, at *2 (W.D. Pa. Jan. 20, 2023)
(information found on government websites is widely considered both self-authenticating and
subject to judicial notice) (other citation omitted).
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ELECTIONS, BUTLER COUNTY BOARD           )
OF ELECTIONS, CAMBRIA COUNTY             )
BOARD OF ELECTIONS, CAMERON              )
                                         )
COUNTY BOARD OF ELECTIONS,               )
CARBON COUNTY BOARD OF                   )
ELECTIONS, CENTRE COUNTY BOARD           )
OF ELECTIONS, CHESTER COUNTY             )
BOARD OF ELECTIONS, CLARION              )
COUNTY BOARD OF ELECTIONS,               )
CLEARFIELD COUNTY BOARD OF               )
                                         )
ELECTIONS, CLINTON COUNTY                )
BOARD OF ELECTIONS, COLUMBIA             )
COUNTY BOARD OF ELECTIONS,               )
CRAWFORD COUNTY BOARD OF                 )
ELECTIONS, CUMBERLAND COUNTY             )
BOARD OF ELECTIONS, DAUPHIN              )
                                         )
COUNTY BOARD OF ELECTIONS,               )
DELAWARE COUNTY BOARD OF                 )
ELECTIONS, ELK COUNTY BOARD OF           )
ELECTIONS, ERIE COUNTY BOARD OF          )
ELECTIONS, FAYETTE COUNTY                )
BOARD OF ELECTIONS, FOREST               )
COUNTY BOARD OF ELECTIONS,               )
                                         )
FRANKLIN COUNTY BOARD OF                 )
ELECTIONS, FULTON COUNTY BOARD           )
OF ELECTIONS, GREENE COUNTY              )
BOARD OF ELECTIONS, HUNTINGDON           )
COUNTY BOARD OF ELECTIONS,               )
INDIANA COUNTY BOARD OF                  )
ELECTIONS, JEFFERSON COUNTY              )
                                         )
BOARD OF ELECTIONS, JUNIATA              )
COUNTY BOARD OF ELECTIONS,               )
LACKAWANNA COUNTY BOARD OF               )
ELECTIONS, LANCASTER COUNTY              )
BOARD OF ELECTIONS, LAWRENCE             )
COUNTY BOARD OF ELECTIONS,               )
                                         )
LEBANON COUNTY BOARD OF                  )
ELECTIONS, LEHIGH COUNTY BOARD           )
OF ELECTIONS, LUZERNE COUNTY             )
BOARD OF ELECTIONS, LYCOMING             )
COUNTY BOARD OF ELECTIONS,               )
MCKEAN COUNTY BOARD OF                   )
ELECTIONS, MERCER COUNTY BOARD           )
                                         )
OF ELECTIONS, MIFFLIN COUNTY             )
BOARD OF ELECTIONS, MONROE               )
COUNTY BOARD OF ELECTIONS,               )
                                         )
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 MONTGOMERY COUNTY BOARD OF                          )
 ELECTIONS, MONTOUR COUNTY                           )
 BOARD OF ELECTIONS,                                 )
                                                     )
 NORTHAMPTON COUNTY BOARD OF                         )
 ELECTIONS, NORTHUMBERLAND                           )
 COUNTY BOARD OF ELECTIONS,                          )
 PERRY COUNTY BOARD OF                               )
 ELECTIONS, PHILADELPHIA COUNTY                      )
 BOARD OF ELECTIONS, PIKE COUNTY                     )
 BOARD OF ELECTIONS, POTTER                          )
                                                     )
 COUNTY BOARD OF ELECTIONS,                          )
 SCHUYLKILL COUNTY BOARD OF                          )
 ELECTIONS, SNYDER COUNTY BOARD                      )
 OF ELECTIONS, SOMERSET COUNTY                       )
 BOARD OF ELECTIONS, SULLIVAN                        )
 COUNTY BOARD OF ELECTIONS,                          )
                                                     )
 SUSQUEHANNA COUNTY BOARD OF                         )
 ELECTIONS, TIOGA COUNTY BOARD                       )
 OF ELECTIONS, UNION COUNTY                          )
 BOARD OF ELECTIONS, VENANGO                         )
 COUNTY BOARD OF ELECTIONS,                          )
 WARREN COUNTY BOARD OF                              )
 ELECTIONS, WASHINGTON COUNTY                        )
                                                     )
 BOARD OF ELECTIONS, WAYNE                           )
 COUNTY BOARD OF ELECTIONS,                          )
 WESTMORELAND COUNTY BOARD OF                        )
 ELECTIONS, WYOMING COUNTY                           )
 BOARD OF ELECTIONS, YORK                            )
 COUNTY BOARD OF ELECTIONS,                          )
                                                     )
                Defendants.                          )
                                                     )
I.     Introduction

       The right to vote “is regarded as a fundamental political right because [it is] preservative

of all rights.” Yick Wo v. Hopkins, 118 U.S. 356, 370 (1886). This case implicates that right

through a legal challenge to the “vote by mail” practices currently in place in the Commonwealth

of Pennsylvania; specifically, whether mailed-in ballots, which either lack a date or include an

incorrect date on the outside envelope, may yet be counted.




                                                 3

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       The individual Plaintiffs in this case are voters from across the Commonwealth whose

mail ballots were not counted due to their failure to properly date the voter declaration on the

outer return envelope of their ballot. Numerous community organizations are also Plaintiffs.

The Defendants are Al Schmidt (“Secretary Schmidt”) in his official capacity as the Secretary of

the Commonwealth of Pennsylvania, and each of the Commonwealth’s sixty-seven county

boards of election.2 Plaintiffs and some of the Defendants have moved for summary judgment.

       In one of the pending motions for summary judgment, two Defendants raise justiciability

concerns, arguing that the Plaintiffs lack constitutional standing to pursue their claims. The

question of Article III standing to sue is a threshold requirement in every federal case. Warth v.

Seldin, 422 U.S. 490, 498 (1975). Indeed, standing is necessary for subject matter jurisdiction.

See Susan B. Anthony List v. Driehaus, 573 U.S. 149, 157-58 (2014). The Court will begin its

discussion and analysis with that motion. Before doing so, a summary of the claims at issue is

provided.

II.    Summation of the Complaint and the Parties

       The Amended Complaint identifies five individual Plaintiffs: Barry Seastead

(“Seastead”) of Warren County; Marlene Gutierrez (“Gutierrez”) and Aynne Margaret Pleban

Polinski (“Polinski”) of York County; and Joel Bencan (“Bencan”) and Laurence Smith

(“Smith”) of Montgomery County.3 See ECF No. 121. These individuals are registered


2
 Plaintiffs allege that each county board has jurisdiction over the conduct and management of
primaries and general elections in their respective counties. ECF No. 121, ¶ 38.

3
 Pursuant to Rules 21 and 41(a)(2) of the Federal Rules of Civil Procedure, the remaining
Plaintiffs moved to terminate Jean Terrizzi, Marjorie Boyle, and Deborah Diehl as plaintiffs in
this action. See ECF No. 262. The Court granted the motion and those three individuals were
removed from the docket as parties to this action. See ECF No. 263.

                                                 4

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Pennsylvania voters who allege they were disenfranchised in the November 2022 election

because their mail ballots were not counted. ECF No. 121, ¶ 5. The six organizational Plaintiffs

are the Pennsylvania State Conference of the NAACP (“NAACP”); the League of Women

Voters of Pennsylvania (the “League”); Philadelphians Organized to Witness, Empower and

Rebuild (“POWER”); Common Cause Pennsylvania (“Common Cause”); Black Political

Empowerment Project (“B-PEP”); and Make the Road Pennsylvania (“MTRP”). These

organizations allege that their voter education and get-out-the-vote efforts were burdened by the

hyper-technical rules that disenfranchise voters. Id. at ¶ 4.

          Together, all Plaintiffs raise two legal claims: first, that Defendants violated the

Materiality Provision of the Civil Rights Act of 1964, 52 U.S.C. § 10101(a)(2)(B) (Count I) and

second, that the Defendants violated the Equal Protection Clause of the fourteenth amendment

to the United States Constitution (“Equal Protection Clause”) (Count II).4 The body of the

Amended Complaint generally does not differentiate between the two groups of Plaintiffs and

the language used throughout the pleading references all Plaintiffs, but the contours of the

individuals’ claims and the organizations’ claims differ significantly. At Count I, each of the

individual Plaintiffs plead that they were disenfranchised by the unnecessary and superfluous

date requirement to their mail ballot. Each of the organizational Plaintiffs challenge the

application of the date requirement more generally because they have been forced to divert

resources to reeducate voters who are at risk of disenfranchisement. At Count II, each individual

Plaintiff pleads that Defendants’ refusal to count the undated or misdated mail ballots of

domestic voters while at the same time counting the undated or misdated ballots of overseas and

military voters imposes arbitrary distinctions unsupported by any legitimate or compelling


4
    Plaintiffs seek relief on both claims via 42 U.S.C. § 1983.
                                                    5

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government interest, thereby violating their right to equal protection under the law. The

organizational Plaintiffs invoke the Equal Protection Clause as well, despite the fact they have no

right to vote. See ECF No. 121, ¶ ¶ 2-5, 84-88.

       With this background, the Court turns first to the motion for summary judgment filed by

Defendant Lancaster County.

III.   Standing

       Defendant Lancaster County Board of Elections (“Lancaster County” or “Lancaster

County Board”) has moved for summary judgment. ECF No. 267. Defendant Berks County

Board of Elections (“Berks County” or “Berks County Board”) has joined in that motion as a co-

movant. See ECF No. 269. Their motion argues that the Plaintiffs lack standing because no

Plaintiff has demonstrated an injury that is directly traceable to their conduct. See ECF No. 276,

p. 2 (emphasis added).5



5
 Lancaster County supports its motion with numerous exhibits (ECF Nos. 267-2 through 267-
14) and has also submitted a Concise Statement of Material Facts in accordance with our Local
Rules (ECF No. 268). In joining Lancaster County’s motion, the Berks County Board did not
proffer any exhibits of its own nor did it file a concise statement. Instead, Berks County stated
that “[a]ll of the arguments asserted by Lancaster [County] apply equally to Berks [County]” and
that Lancaster County’s “supporting memorandum of law and concise statement of material
facts” are incorporated by reference in its motion. See ECF No. 269, p. 1. Such “me too”
motions should contain a “statement of the relief sought and a statement that no brief is
necessary and that no separate [concise statement] is necessary because the party joins in those
submissions filed by other counsel.” Schmotzer v. Rutgers University-Camden, 2018 WL
547540, at *1 (D.N.J. Jan. 24, 2018). The Berks County Board’s motion contains such
statements. See ECF No. 267, p. 1. However, when a party merely joins in a motion for summary
judgment without presenting its own evidence, the party fails to establish the necessary factual
foundation to support the motion. See, e.g., People v. Roberts, 70 V.I. 168, 176, 2019 VI SUPER
21, ¶ 14 (V.I. Super. 2019) (citations omitted). Thus, although the Court will construe the Berks
County Board as properly moving for summary judgment, its reliance on the evidence presented
solely by its co-movant to support its own motion for summary judgment may not provide the
Court with sufficient “grist to evaluate” Berks County’s motion. See Egli v. Strimel, 2016 WL
1292254, at *1 n.1 (E.D. Pa. Apr. 8, 2016).
                                                  6

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       All Plaintiffs oppose the motions for summary judgment by the Lancaster and Berks

County Boards, arguing that they do have standing to pursue their claims. See ECF No. 313. The

Plaintiffs have also filed a Responsive Concise Statement to the Lancaster County Board’s

Concise Statement. ECF No. 314.

       Lancaster County asserts the Plaintiffs lack standing because none of their injuries were

the result of any action taken by the Board. See ECF No. 267, p. 3. The Board points out that

the individual Plaintiffs neither live in Lancaster County nor have ever had a ballot rejected by

Lancaster County Board. Id. Lancaster County posits that the organizational Plaintiffs cannot

bring claims on behalf of their membership because they have not identified any member who

would suffer harm from the Lancaster County Board’s actions. Id., p. 4.

       The Constitution limits the jurisdiction of the federal courts to “cases” and

“controversies.” U.S. Const. art. III, § 2. “Federal courts are courts of limited jurisdiction, and

where there is a question as to our authority to hear a dispute, it is incumbent upon the courts to

resolve such doubts, one way or the other, before proceeding to a disposition on the merits.”

Zambelli Fireworks Mfg. Co. v. Wood, 592 F.3d 412, 418 (3d Cir. 2010). See also Gill v.

Whitford, 585 U.S. ___, 138 S.Ct. 1916, 1929 (2018) (cleaned up) (“A federal court is not a

forum for generalized grievances…”)).6

       The party which invokes the jurisdiction of the federal court bears the burden of

establishing it. Spokeo Inc., v. Robins, 578 U.S. 330, 338 (2016), as revised (May 24, 2016);




6
 This Opinion uses “(cleaned up)” to indicate that internal quotation marks, alterations, and
citations have been omitted from quotations. See, e.g., Rush v. City of Phila., 78 F.4th 610, 649
(3d Cir. Aug. 30, 2023); see also Jack Metzler, Cleaning Up Quotations, 18 Journal of Appellate
Practice and Process 143 (2017).

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Animal Sci. Prod., Inc., China Minmetals Corp., 654 F.3d 462, 470 (3d Cir. 2011). This means

that the Plaintiffs—as the parties invoking this Court’s jurisdiction—must “clearly … allege

facts demonstrating” all three elements of constitutional standing: (1) an “injury in fact,” (2) that

is “fairly traceable” to the defendant’s conduct, and (3) that is likely to be redressed by favorable

judicial intervention. Lujan v. Def. of Wildlife, 504 U.S. 555, 561 (1992). “The injury-in-fact

requirement is ‘very generous’ to claimants.” Cottrell v. Alcon Lab’ys, 874 F.3d 154, 162-63 (3d

Cir. 2017) (citation omitted). Thus, a plaintiff “need only allege a ‘specific, identifiable trifle of

injury.’” Online Merchants Guild v. Hassell, 2021 WL2184762, at *4 (M.D. Pa. May 28, 2021)

(quoting In re Horizon Healthcare Servs. Inc. Data Breach Litig., 846 F.3d 625, 633 (3d Cir.

2017) (citations omitted)).

       But an injury alone does not establish standing. Each plaintiff must also demonstrate that

the injury is “fairly traceable” to the defendant’s challenged conduct. See Lezark v. I.C. System,

Inc., 2023 WL 4571457, at *9 (W.D. Pa. July 18, 2023) (citing Spokeo, 578 U.S. at 338).

“Traceability means that the injury was caused by the challenged action of the defendant as

opposed to an independent action of a third party.” Id. (quoting Clemens v. ExecuPharm Inc., 48

F.4th 146, 156 (3d Cir. 2022)). This element of standing is often referred to as “causation.” See

13A Charles Alan Wright & Arthur R. Miller, Federal Practice and Procedure § 3531.5 (3d ed.

1998, Apr. 2022 update). However, this requirement is not equivalent to establishing proximate

cause or “but-for” causation. See Lexmark Int’l, Inc. v. Static Control Components, Inc., 572

U.S. 118, 134 n.6 (2014); Khodara Env’t, Inc. v. Blakey, 376 F.3d 187, 195 (3d Cir. 2004)

(holding that “Article III standing demands a ‘causal relationship,’ but neither the Supreme Court

nor our Court has ever held that but-for causation is always needed.”). The central inquiry is




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whether there is a “causal connection between the injury and the conduct complained of.” Lujan,

504 U.S. at 560.

       The weight of the Plaintiffs’ burden of establishing standing changes at each successive

stage of litigation. Road-Con, Inc., v. City of Phila., 2022 WL 17669015, at *5 (E.D. Pa. Dec. 14,

2022) (citing Lujan, 504 U.S. at 561). In the face of a summary judgment motion, Plaintiffs

must demonstrate standing with more than “mere allegations” and instead are required to “set

forth by affidavit or other evidence specific facts, which … will be taken as true.” See Norman

v. TransUnion, LLC, 2023 WL 2903976, at *9 (E.D. Pa. Apr. 11, 2023) (citing Lujan, 504 U.S.

at 561)). See also Greenberg v. Lehocky, 81 F.4th 376, 384 (3d Cir. Aug. 29, 2023) (to establish

standing at summary judgment stage, plaintiff can no longer rest on mere allegations, but must

set forth by affidavit or other evidence specific facts establishing standing). A plaintiff must also

show standing for each claim and for each form of relief sought. Davis v. Fed. Election Comm’n,

554 U.S. 724, 734 (2008).

       The Supreme Court has cautioned that “standing is not dispensed in gross.” Town of

Chester, N.Y. v. Laroe Estates, Inc., 581 U.S. 433, 439 (2017) (quoting Davis v. Federal Election

Comm’n, 554 U.S. 724, 734 (2008)); see also Boyle v. Universal Health Servs., Inc., 36 F.4th

124, 131 (3d Cir. 2022). “Article III standing to sue each defendant … requires a showing that

each defendant caused [the plaintiff’s] injury and that an order of court against each defendant

could redress the injury.” Calzone v. Hawley, 866 F.3d 866, 869 (8th Cir. 2017) (citing Lujan,

504 U.S. at 560-61). Thus, “a plaintiff must demonstrate standing for each claim he seeks to

press and for each form of relief that is sought.” Town of Chester, 581 U.S. at 438.




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       A.      Standing of the Individual Plaintiffs against Lancaster and Berks Counties

               1.      The “Materiality Provision” Claims

       To determine whether the individual Plaintiffs have standing, the Court looks first to the

legal claims they alleged in the Amended Complaint. See, e.g., Boley, 36 F.4th at 131. Count I is

a claim brought under the Materiality Provision of the Civil Rights Act (“Materiality Provision”)

challenging the mandatory application of Pennsylvania’s requirement that mail ballots contain a

hand-written date next to the voter’s signature. See ECF No. 121, ¶¶ 72-81. More specifically,

each individual Plaintiff claims that the refusal to count their vote because of a missing or

incorrect date violated the Materiality Provision. “[A] person’s right to vote is ‘individual and

personal in nature.’” Donald J. Trump for President, Inc. v. Boockvar, 502 F. Supp. 3d 899, 912

(M.D. Pa.), aff’d sub nom. Donald J. Trump for President, Inc. v. Sec’y of Pennsylvania, 830

Fed. Appx. 377 (3d Cir. 2020). The denial of this right, therefore, is usually “always sufficiently

concrete and particularized to establish a cognizable injury.” Id. (citing Gomillion v. Lightfoot,

364 U.S. 339, 349 (1960)). Because a plaintiff’s standing “must be evaluated separately as to

each defendant,” the standing of each individual Plaintiff will be discussed in turn. See

Disability Rts. S.C. v. McMaster, 24 F.4th 893, 900 (4th Cir. 2022) (citations omitted).

       Each individual Plaintiff has filed a sworn declaration. See ECF No. 121-2; 121-4; 121-

6; 121-7; 121-8. The Defendants do not contest the averments contained in any of the individual

Plaintiffs’ declarations. Each of the individual Plaintiffs explains that they are long-time

registered voters who utilized a mail-in ballot to exercise their right to vote in the November

2022 election. Each completed their ballot and delivered it to their respective county board of

elections. And each mail ballot was not counted due to a dating error or omission on the voter

declaration. Id. Thus, every individual Plaintiff has adequately established that their right to

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vote was violated because their ballot was not counted. See e.g., Disability Rts., 24 F.4th at 913.

Put another way, because their ballots were not counted, they have each established an injury-in-

fact. Id. See also Vote.org v. Georgia State Election Bd., 2023 WL 2432011, at *5 (N.D. Ga.

Mar. 9, 2023); Trump for President, 502 F. Supp.3d at 918 (“All citizens of the United States

have a constitutionally protected right to vote. And all citizens have a constitutionally protected

right to have their vote counted.”) (citations omitted).

       However, each of the individual Plaintiffs must yet establish that their injury was “fairly

traceable” to the Defendants’ actions to have standing. “For purposes of traceability, the relevant

inquiry is whether the plaintiff’s injury can be traced to ‘allegedly unlawful conduct’ of the

defendant, not to the provision of law that is challenged.” Collins, 141 S. Ct. at 1779 (quoting

Lujan, 504 U.S. at 560-61). Lancaster and Berks Counties contend that each of the individual

Plaintiffs’ injuries cannot be traced to any action it undertook. See ECF No. 267, p. 4. For

example, Lancaster County argues that although the individual Plaintiffs “may have injuries

caused by or connected to the action of other defendants,” they have failed to show that their

ballots were not counted as the result of any action taken by the Lancaster County Board. Id.

The Court agrees.

       The evidence of record reveals that the five individual Plaintiffs reside in just three

counties: Seastead is a resident of Warren County, Polinski and Gutierrez are residents of York

County, and Smith and Bencan are residents of Montgomery County. The individual Plaintiffs

have not met their burden of pointing to evidence from which their injuries (the rejection of their

ballots by election officials in Warren, York, and Montgomery counties) can be traced to any

action by the Lancaster or Berks County Boards. The Court can only conclude that each of the




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individual Plaintiffs has failed to meet their burden of establishing standing to challenge any

action by the Lancaster or Berks County Boards.

       In sum then, although each individual Plaintiff may have standing to challenge the

actions of the county boards that failed to count their mail-in ballots, they do not have standing to

bring a Civil Rights Act claim against Lancaster or Berks County.

               2.      The Equal Protection Claims

       At Count II, each of the individual Plaintiffs claims that the rejection of their ballots

violated the Equal Protection Clause of the Fourteenth Amendment. See ECF No. 121, ¶¶ 84-88.

Their claim is based on a state law which applies “a different rule to military and overseas voters

who vote by mail” than it does to those who vote by mail from within the Commonwealth. Id. at

¶ 86. According to the individual Plaintiffs, the rejection of some ballots—but not others—

because of a missing or incorrect date amounts to line-drawing that is inconsistent with the Equal

Protection Clause of the Fourteenth Amendment. Id. at ¶ 85. See also Pennsylvania State Conf.

of NAACP v. Schmidt, 2023 WL 3902954, at *7 (W.D. Pa. June 8, 2023).

       A “person’s right to vote is ‘individual and personal in nature.’” Gill, 585 U.S. ___, 138

S. Ct. at 1929 (quoting Reynolds v. Sims, 377 U.S. 533, 561 (1964)). So “‘voters who allege

facts showing disadvantage to themselves as individuals have standing to sue’ to remedy that

disadvantage.” Id. (quoting Baker v. Carr, 369 U.S. 186, 206 (1962)). See also Mohr v. Erie

Cnty. Legislature, 2023 WL 3075956, at *8 (W.D.N.Y. Apr. 24, 2023). Although each of the

individual Plaintiffs may have an equal protection injury, they have not pleaded, let alone

provided evidence of, any injury stemming from an equal protection violation that is directly




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traceable to either Lancaster or Berks County. Therefore, the individual Plaintiffs lack standing

to assert their equal protection claim against the Lancaster or Berks County Boards.

       B.      Standing of Organizational Plaintiffs against Lancaster and Berks Counties

       In addition to the individual voters, several organizations are Plaintiffs in this action.

Federal courts permit organizations and associations to have standing based on the recognition

that “the primary reason people join an organization is often to create an effective vehicle for

vindicating interests that they share with others.” International Union, United Auto. Aerospace

& Agric. Implement Workers v. Brock, 477 U.S. 274, 290 (1986). Such entities may assert

standing in two ways. First, organizations may have standing to bring claims which stem from

injuries that were directly sustained by the organization. See, e.g., Babbitt v. United Farm

Workers Nat’l Union, 442 U.S. 289, 299 n.11 (1979); Pa. Psychiatric Soc’y v. Green Spring

Health Servs., Inc., 280 F.3d 278, 283 (3d Cir. 2002) (citing Babbitt). This is often referred to as

“organizational standing” or “direct organizational standing.” See, e.g., Online Merchants,

supra. Absent injury to itself, an association may pursue claims solely as a representative of its

members. See, e.g., New York State Club Ass’n, Inc., v. City of New York, 487 U.S.1 (1988);

Public Interest Research Group of N.J., Inc. v Magnesium Elektron, Inc., 123 F.3d 111 (3d Cir.

1997). This is referred to as “associational standing.” See Pa. Prison Soc’y v. Cortes, 508 F.3d

156, 162-63 (3d Cir, 2007).7 Contrary to the arguments advanced by the Lancaster County

Board, the Plaintiff organizations do not claim they have standing based on injuries their




7
 The terms are often confused and commingled. See, e.g., Online Merchants Guild, 2021 WL
2184762, at *4 n.3 (noting that “organizational standing” is often called “direct standing,”
“personal standing,” or “individual standing” whereas “associational standing” is sometimes
referred to as “representative standing.”).

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members sustained; that is, they do not claim associational standing. See ECF No. 287, pp. 6-8.

Instead, they assert direct organizational standing. See ECF No. 313, p. 11 n.3 (“For purposes of

their motion for summary judgment, Plaintiff organizations do not rely on injuries to their

members to establish standing.”).8

       An entity has direct organizational standing when it suffers injuries because of the

defendant’s allegedly unlawful conduct. Havens Realty Corp. v. Coleman, 455 U.S. 363, 378-79

(1982). This occurs, for example, when an organization must divert resources to counteract the

allegedly unlawful conduct. See id. (finding injury-in-fact where the organization alleges that

the unlawful conduct “perceptibly impaired” its ability to provide counseling and referral

services by requiring it to “devote significant resources to identify and counteract the defendant’s

[unlawful conduct]”); Fair Hous. Rts. Ctr. in Se. Pa. v. Post Goldtex GP, LLC, 823 F.3d 209,

214 n.5 (3d Cir. 2016) (finding standing where the organization alleged that its mission had been

frustrated “because it has had to divert resources in order to investigate and prosecute the alleged

discriminatory practices”); ERISA Indus. Comm. v. Asaro-Angelo, 2023 WL 2808105, at *3

(D.N.J. Apr. 6, 2023) (citing Fair Hous. Rts. Ctr.)). On this point, the Court of Appeals has

emphasized the importance of adequate evidence to support direct organizational injury. See,

e.g., Fair Hous. Council of Suburban Phila. v. Montgomery Newspapers, 141 F.3d 71, 78 (3d

Cir. 1998). “At the summary judgment stage, bare allegations of injury … are not enough to

establish standing.” Id. Accordingly, the summary judgment record must contain sufficient




8
 See also ECF No. 267-5, pages 18-19 (NAACP); ECF No. 267-6, page 18 (League); ECF No.
267-7, page 17 (POWER); ECF No. 267-8, page 16 (Common Cause); ECF No. 267-9, page 14
(B-PEP); and ECF No. 267-10, page 14 (MTRP).
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evidence to support the organizational Plaintiffs’ claim of Article III standing. Id. See also

ERISA Indus. Comm. v. Asaro-Angelo, 2023 WL 2808105, at *3 (D.N.J. Apr. 6, 2023).

       As previously noted, there are six organizational Plaintiffs in this case: The Pennsylvania

Conference of the NAACP (“NAACP”); The League of Women Voters of Pennsylvania (“the

League”); Philadelphians Organized to Witness, Empower, and Rebuild (“POWER”); Common

Cause Pennsylvania (“Common Cause”); Black Political Empowerment (“B-PEP”); and Make

the Road Pennsylvania (“MTRP”).

               1.      The NAACP State Conference

       The NAACP is a “non-profit, non-partisan organization that works to improve the

political, educational, social, and economic status of African-Americans and other racial and

ethnic minorities, to eliminate racial prejudice, and to take lawful action to secure the elimination

of racial discrimination among other objectives.” ECF No. 121, ¶ 11. Broadly, the NAACP

alleges that the failure to count timely-submitted mail-in ballots premised solely on a missing or

incorrect date “will disenfranchise potentially thousands of votes, directly affecting [the

organization’s] members and interfering with its ability to carry out its mission ….” Id. ¶ 13. As

for an injury-in-fact, the NAACP asserts that the Defendants’ “failure to count such ballots also

has caused and will cause [the organization] to divert resources in this and future elections from

its existing voter education and mobilization efforts” to “investigating and educating voters about

any available cure processes or to advocate that new processes be developed to ensure that voters

who are eligible and registered and who submitted their ballots on time are not disenfranchised

by a trivial paperwork mistake.” Id. The NAACP supports this alleged injury with the

declaration of Sandra Thompson, the NAACP’s President. See ECF No. 280, pp. 34-38. No

Defendant disputes or contradicts Thompson’s declaration. She declares that but for Defendants’

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application of the rule regarding dated mail-in ballots, the organization’s “voter contact and

education efforts would have been directed to other, existing get-out-the-vote programs like

monitoring the polls and engaging and educating new voters.” Id., p. 36, ¶ 10.

       Thompson provided specific examples of this diversion of resources. For example,

because of the Defendants’ actions, the NAACP was forced to spend “additional time and

resources toward organizing and coordinating an Election Day command center in Philadelphia,

with approximately 17 students from Howard University Law School,” to attempt to contact

voters who had submitted mail-in ballots with a missing or incorrect date. Id. at ¶ 11. The

organization’s Field Director and two other volunteers were deployed to contact affected voters,

which diverted the director and volunteers from their intended mission, which was to conduct

“election protection on Election Day in Philadelphia.” Id., at ¶ 12. Further, Thompson declares

that the NAACP had to divert resources away from its espoused mission in favor of a social

media campaign in York and Reading, Pennsylvania, as well as in Pittsburgh and Philadelphia,

to alert the public to the availability of procedures to “cure” any ballot in which the date was

omitted or incorrect, thereby ensuring that the ballot would be counted. Id., at ¶¶ 13-14.

       As to the Berks County Board, the NAACP’s Reading, Pennsylvania branch (the county

seat of Berks County) specifically posted on social media on November 4, 2022, that “[t]he

Berks County Office of Election Services has been segregating these ballots throughout the

current election cycle and will continue to do so per the ruling.” ECF No. 280, p. 40.9 The

Reading, Pennsylvania branch also posted to social media sites that “Berks County election




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 The NAACP has also submitted a press release from Berks County dated November 3, 2022,
which states that the Elections Services Office had begun “segregating these ballots.” ECF No.
280, p. 41.
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officials want voters to know they can fix undated mail ballots.” Id., pp. 42-43. Thus, the

NAACP has provided sufficient uncontroverted evidence to support its assertion that Defendant

Berks County Board’s actions forced it to divert resources away from its mission and toward the

re-education and re-connection with voters, including through a social media campaign, to

inform them on how to properly cast and cure their ballots. Given this, the Court concludes that

Plaintiff NAACP has sufficiently established an injury-in-fact.

       But an injury-in-fact alone does not establish standing. The NAACP must also show that

the injury is “fairly traceable” to the Defendants’ conduct. Spokeo, 578 U.S. at 338. Lancaster

County argues that the NAACP has failed to point to any evidence which demonstrates that its

injury is directly traceable to any of Lancaster County’s conduct or actions. See ECF No. 267, p.

9. Instead, the Lancaster County Board contends that the NAACP’s diversion of resources was

caused by the Pennsylvania Supreme Court’s decision in Ball v. Chapman, 284 A.3d 1189 (Pa.

Nov. 1, 2022).10 To support its argument, Lancaster County points to the NAACP’s answer to an

interrogatory which asked the basis for its standing. In that interrogatory response, the

organization stated:

               Following the Pennsylvania Supreme Court’s November 1, 2022
               decision in Ball v. Chapman, No. 102 MM 2022, the boards of
               elections in the counties where the [NAACP] operates
               implemented a rule requiring election officials to set aside—and
               not count—votes received in mail ballot envelopes missing a
               meaningless voter-written date or showing a date that the board of
               elections determined to be “incorrect.”




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  Ball v. Chapman is discussed in detail infra. For these purposes, in Ball, the Pennsylvania
Supreme Court ordered that undated or misdated mail-in ballots in the November 2022 election
be segregated and not counted.
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ECF No. 267-5, p. 13. Contrary to Lancaster County’s argument, the NAACP claims that it was

a rule implemented by county elections officials that caused its injury. Where the rule originated

is irrelevant to their claim that the counties implemented the rule and this implementation is the

cause of the injury alleged.

       On the other hand, the NAACP’s generalized allegation against the counties is

insufficient to establish that the organization’s injuries were traceable to an action of Lancaster

County, which they must be. The NAACP has not pointed to any evidence which demonstrates

that Lancaster County’s actions required it to divert resources. Indeed, Thompson’s declaration,

does not speak to any activity undertaken by Lancaster County. Instead, Thompson only points

to actions taken by election officials in York County and Berks County.

       We are left with the NAACP’s injury that is traceable to Berks County. Now, the Court

must determine whether it can redress that injury. This third and final prong of the constitutional

standing inquiry looks forward, asking whether the injury will be redressed by a favorable

decision from the Court. See Freeman v. Corzine, 629 F.3d 146, 153-54 (3d Cir. 2010).

“‘Redressability is not a demand for mathematical certainty,’ but it does require a ‘substantial

likelihood’ that the injury in fact can be remedied by a judicial decision.” Id. (quoting Vt.

Agency of Natural Res. v. U.S. ex rel. Stevens, 529 U.S. 765, 771 (2000)).

       The Amended Complaint asserts that injunctive and declaratory relief against Defendants

would redress Plaintiffs’ injuries. See ECF No. 121, p. 37, ¶¶ 1-2. The NAACP asks that the

Court declare that the date requirement violates federal law and enjoin the county boards from

refusing to include the undated or misdated mail-in ballots from the 2022 election in the official




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tally or record of that contest.11 Id., pp. 37-38. Such orders would alleviate the need for the

NAACP to redirect its future efforts away from educating the public on the dating requirement

and back toward its other professed goals and mission. These forms of declaratory and

injunctive relief are certainly at this Court’s disposal and would, if directed at Berks County,

address the NAACP’s injury there. Therefore, the NAACP has established redressability. See,

e.g., OpenPittsburgh.org v. Voye, 563 F. Supp. 3d 339, 419 (W.D. Pa. 2021) (holding that

injunctive relief is a form of relief at the Court’s disposal which cuts against … the argument that

plaintiffs have failed to establish redressability).

        The Court concludes that while the NAACP has standing to assert its claim against the

Berks County Board, it does not have standing against the Lancaster County Board of Elections

because the NAACP has failed to trace its injury to any action of Lancaster County.

                2.      The League of Women Voters of Pennsylvania

        The League is a “nonpartisan statewide non-profit” organization “dedicated to helping

the people of Pennsylvania exercise their right to vote, as protected by law.” ECF No. 121, ¶ 14.

The League has “2,500 members across Pennsylvania, including in Crawford, Elk, Erie, Forest,

McKean, Venango, and Warren Counties.” Id. The League’s mission includes “voter

registration, education, and get-out-the-vote drives.” Id., ¶ 15. The League contends that as a

result of the Lancaster County Board’s actions in refusing to count undated or misdated mail-in

ballots, it was forced to redirect and divert resources away from its mission and goals to

counteract the allegedly unlawful conduct. In support of its claims, the League submitted the



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  Restated in the affirmative, the NAACP seeks an injunction ordering that the undated and
misdated mail-in ballots be counted and included in the official tally of the 2022 election and that
such ballots be counted in all future elections.
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signed declaration of Meghan Pierce, the League’s Executive Director. See ECF No. 280, pp. 51-

75. Pierce declares that:

   o After November 1, 2022, the county boards of elections required elections officials to set
     aside—and not count—votes received in mail ballot envelopes missing a … voter-written
     date or showing a date that the board of elections determined to be “incorrect” Id., p. 52,
     ¶ 7.

   o This requirement caused the League to redirect its limited resources, including staff and
     volunteer time, to efforts to inform voters of this change and educate them as to how to
     avoid disenfranchisement. Id.

   o The League was forced to contact hundreds of voters and provide them with information
     to help them cure their ballot or vote provisionally to prevent disenfranchisement. Id., ¶
     8.

   o Three staff members and approximately thirty volunteers spent time contacting voters,
     including on the phone and through social media. Id.

   o As to the Lancaster County Board specifically, the failure to permit voters whose ballots
     would not be counted because of the date omission or other mistake forced the League to
     undertake a social media campaign and to attend board meetings and urge the Lancaster
     County Board to notify voters so they could cure their ballots, all of which diverted
     resources the League had dedicated to other programs, including “get-out-the-vote
     efforts.” Id., see also id. at p. 54, ¶ 13(b).

   o As to the Berks County Board specifically, the League was forced to post to social media
     about the risk of disenfranchisement and the opportunity to voters to correct defective
     mail ballot return envelopes. ECF No. 267-6, p. 13; ECF No. 280, p. 55.

       Pierce’s uncontested declaration is sufficient evidence to establish the League’s standing

to bring its claim against the Lancaster and Berks County Boards. First, the League has

demonstrated an injury-in-fact. It has had to expend and divert resources to address Lancaster

County’s refusal to count certain ballots and to inform voters on the ramifications of Lancaster

County’s conduct. See, e.g., ERISA Indus. Comm. v. Asaro-Angelo, 2023 WL 2034460, at *5

(D.N.J. Feb. 16, 2023). Second, Pierce’s declaration sufficiently traces the injury to the

Lancaster County’s allegedly unlawful conduct. As a result of that conduct, the League spent

time attending public meetings at which they offered statements urging the Lancaster County

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Board of Elections to notify voters on how to cure their ballots, drafted and issued statements

condemning Lancaster County’s inaction, and published social media posts concerning Lancaster

County’s conduct. See id., p. 54, ¶ 13(b). See also id., p. 64 (Statement of League of Women

Voters of Lancaster County). As concerns Berks County, the League was forced to divert

resources from its other programs and projects to a new social media campaign to inform voters

about Berks County’s refusal to count certain undated and misdated ballots. The League has

provided similar uncontested evidence concerning its diversion of resources in Allegheny,

Lehigh, and Montgomery counties. ECF No. 267-6, ¶ 12-13. This demonstrates that the

League’s injuries are traceable to the actions of both Lancaster and Berks Counties.

       That leaves the question of redressability; that is, whether the League’s injury may be

redressed by a favorable decision of this Court. The Amended Complaint asserts that injunctive

and declaratory relief would redress the League’s injuries. See ECF No. 121, p. 37, ¶¶ 1-2. As

was the case with the NAACP, the Court can redress the League’s injury with declaratory and

injunctive relief. See discussion, supra. Thus, the League has standing to bring its claim against

both Lancaster County and Berks County.

               3.      Philadelphians Organized to Witness, Empower and Rebuild

       POWER is a nonprofit organization which has amongst its priorities “civic engagement

and organizing communities so that the voices of all faiths, races, and income levels are counted

and have a say in government.” ECF No. 121, ¶ 17. Bishop Dwayne Royster has submitted a

declaration which is uncontradicted. See ECF No. 280, pp. 76-79. Royster, the organization’s

executive director, states that his organization was forced to divert resources from its planned

efforts to conduct phone and text banks to mitigate the effects of the Defendants’ conduct in not

counting the offending ballots. Id., p. 77, ¶ 8. As noted above, this establishes an injury-in-fact.



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The problem, however, is that nothing in Royster’s declaration traces POWER’s injury to an

action of Lancaster County or Berks County. Instead, Royster’s declaration connects the

organization’s injury to actions taken in Philadelphia County. For example, Royster notes that

“[w]hen Philadelphia published a list of over 3,000 voters who were at risk of having their

ballots thrown out over technical errors,” POWER was forced to expend time and resources “to

contact those voters,” that is, voters in Philadelphia. Id. Moreover, POWER’s members and

volunteers “made more than 1,200 manual calls and sent more than 2,900 texts to voters whose

names appeared on Philadelphia’s at-risk list.” Id. The organization also “stationed volunteers

at City Hall.” Id., ¶ 9. Lacking is any connection to the actions of the Lancaster or Berks

County Boards, which defeats POWER’s standing on traceability as to these two moving

counties.

               4.      Common Cause Pennsylvania

       Common Cause Pennsylvania is a non-profit political advocacy organization that “seeks

to increase the level of voter registration and voter participation in Pennsylvania elections,

especially in communities that are historically underserved and whose populations have a low

propensity for voting.” ECF No. 121, ¶ ¶ 21-22. Khalif Ali, the state organization’s Executive

Director, has filed a declaration in which he states that his organization also had to divert

resources and expend additional time and effort to counteract the actions of Defendants instead

of pursuing its mission of educating voters and increasing turnout and participation in the voting

process. See ECF No. 280, pp. 82-84. He explains that Common Cause Pennsylvania has had to

produce a “webinar public information series entitled ‘Demystifying Democracy’” to resolve

voter confusion created by the Defendants’ actions. Id. at p. 84, ¶ 15. He further states that

Common Cause “responded to inquiries from voters both via the nonpartisan Election Protection



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hotline and directly to [Common Cause] via email and telephone.” Id. at p. 81-82, ¶ 8. The

Defendants do not dispute Ali’s declaration. Because this is evidence that Common Cause

suffered an injury in fact, the inquiry turns to whether the injury is traceable to the Defendants.

       The difficulty here is that to find traceability the Court would have to assume that these

actions occurred in all sixty-seven counties. Because the declaration does not specify if this is

true, and references “Defendants” generally [see generally ECF No. 267-8], Common Cause has

failed to satisfy its burden of submitting evidence which indicates that the actions of the

Lancaster County or Berks County, specifically, caused its injury.

               5.      Black Empowerment Project

       B-PEP is a non-profit, non-partisan organization that works to “ensure that the Pittsburgh

African-American community votes in every election.” ECF No. 121, ¶ 24. Walt Hales, the

Coordinator for Outreach to Citizens and Religious Organizations for B-PEP, has submitted a

declaration. See ECF No. 280, pp. 94-100. B-PEP is a non-profit, non-partisan organization that

works “to ensure that the Pittsburgh-area African American community votes in each and every

single election.” Id. at p. 94, ¶ 5. Hales further declares that the organization “has numerous

supporters, of various ages and races, throughout the Pittsburgh Region, working with numerous

community organizations to empower Black and brown communities.” Id. B-PEP undertakes

numerous actions during election cycles, including “voter registration drives, get-out-the-vote

activities, education and outreach about the voting process,” and its efforts are focused on

“predominately Black neighborhoods in Allegheny County, with some efforts in Westmoreland

and Washington Counties.” Id. at ¶ 6. By way of injury, Hales states that the organization was

forced to “redirect its limited resources, including staff and volunteer time, to efforts to inform

voters of the change [in voting rules] and educate them as to how to avoid disenfranchisement.”



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Id. at ¶ 8. The organization also had to “expend time and money developing, printing, and

distributing hundreds of flyers and other education materials to dozens of churches for the

purpose of informing prospective voters of the envelope dating issues generated by the Ball

decision.” Id. This took resources from the organization’s get-out-the-vote efforts, as well as

other initiatives “including the Greater Pittsburgh Coalition Against Violence and Corporate

Equity and Inclusion Roundtable initiatives.” Id.

       Hale’s uncontested declaration states an injury-in-fact. However, his declaration traces

the injury to actions taken only in Allegheny, Washington, and Westmoreland Counties; the

injury is not traceable to the actions or inactions of either Lancaster or Berks County. First, he

specifically limits B-PEP’s mission and activities to the Pittsburgh region. See id., p. 94, ¶ 5.

Second, the organization’s election-related activities focus predominately on the African

American neighborhoods of Allegheny County with some efforts in Westmoreland and

Washington counties. Id. at ¶ 6. Third, Hales acknowledges that the programs from which

resources were diverted furthered its mission in Allegheny County, including the Greater

Pittsburgh Coalition Against Violence. Id. at ¶ 8. Given this evidence, the Court must conclude

that although B-PEP has sufficiently demonstrated an injury, that injury is not traceable to the

Lancaster or Berks County Boards.

               6.      Make the Road Pennsylvania

       Plaintiff Make the Road Pennsylvania (“MTRP”) has submitted the declaration of its

Civic Engagement Director, Diana Robinson. See ECF No. 280, pp. 101-103. According to

Robinson, MTRP is a “non-profit, mission-based organization … dedicated to building the

power of the working-class in Latino and other communities … through organizing, policy

innovation, and education services.” Id. at p. 101, ¶ 5. The organization runs “active programs



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to register voters in historically underserved communities of color, especially in Berks, Bucks,

Lehigh, Northampton, and Philadelphia Counties.” Id. at pp. 101-02, ¶ 7. Further, because many

of MTRP’s efforts are “focused on communities where many voters are not native English

speakers,” they had to direct additional time and resources to determine how, “if at all, they

would inform non-English speakers of any problems with the dating of their mail ballot

envelopes.” Id. at p. 102, ¶ 9.

        Although this diversion of resources is sufficient to establish an injury-in-fact, the injury

is not traceable to Lancaster County. Robinson’s declaration does not mention any action

undertaken by Lancaster County election officials nor does she indicate that MTRP has any

presence in or involvement with communities in that county, so it lacks constitutional standing to

bring suit against it.

        Robinson’s declaration does state that in Berks County, it runs “active programs to

register voters in” communities “of color.” Id. at p. 101, ¶ 7. See also ECF No. 267-10, ¶ 10-11.

Based on this, MTRP has demonstrated that its injury is traceable to the actions of Berks County

officials. And, as noted above, the injury is redressable by an injunctive and/or declaratory order

from this Court. See discussion supra. Accordingly, the Court concludes that although MTRP

lacks standing to sue the Lancaster County Board, it has demonstrated sufficient standing to

bring its claim against the Berks County Board of Elections.

        The resolution of the standing arguments in these two motions for summary judgment

does not end the standing analysis in this case. Even though no other Defendant raises standing

concerns, the Court has an independent responsibility to ensure its jurisdiction; that is, whether

any of the Plaintiffs have standing to sue all the other nonmoving Defendants. See Edmonson v.

Lincoln Nat. Life Ins. Co., 725 F.3d 406, 414 (3d Cir. 2013) (citing Henderson ex rel. Henderson



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v. Shinseki, 562 U.S. 428, 433 (2011) (“Federal courts have an independent obligation to ensure

that they do not exceed the scope of their jurisdiction, and therefore they must raise and decide

jurisdictional questions that the parties either overlook or elect not to press.”)).

         C.     Individual Plaintiffs Against the Nonmoving County Board Defendants

         The individual Plaintiffs have sued each of the sixty-seven county boards of elections in

the Commonwealth of Pennsylvania. As just discussed, only two of those county boards have

moved for summary judgment based on lack of standing. But the allegations of each individual

Plaintiff—and the evidence each has proffered—do not support standing against most of the

nonmoving county boards because each Plaintiff’s injury is not particularized to any action of

those Defendants. Each individual Plaintiff has only presented evidence supporting standing as

to their own county of residence and even then, only as to their claims under the Civil Rights

Act.12

         Seastead states in his declaration that he is a Warren County voter who sought to vote in

the November 2022 election in that county. See ECF No. 121-2, generally. He is 68 years old,

has been registered in Warren County for decades, and votes regularly. For the November 2022

election, Seastead properly requested a mail ballot, marked his ballot, and inserted it into the

secrecy envelope and then into the outer return envelope on which he signed the voter

declaration. Seastead’s ballot was not counted because of an “invalid” date. Seastead believed

he wrote the date on which he filled out the ballot and is unaware why the Board of Elections

rejected the date he wrote as “incorrect.” Seastead was not notified of any opportunity to cure




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  No individual Plaintiff has offered any evidence relative to traceability or redressability as to
their equal protection claim. Accordingly, no individual Plaintiff has standing to pursue an equal
protection claim against any county board.
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any defect prior to Election Day. He had no opportunity to cure any defect regarding the date

prior to Election Day and only learned after Election Day that his vote was not counted.

       Aynne Pleban Polinski is a York County voter who sought to vote in the November 2022

election. Polinski is 71 years old and is a qualified voter who regularly votes in elections. In her

declaration, Polinski states that she has been a registered voter in York County since 2016. See

ECF No. 121-6, generally. For the November 2022 election, Polinski properly requested a mail

ballot, marked her ballot, and inserted it into the secrecy envelope and then into the outer return

envelope on which she signed the voter declaration. The York County Board of Elections did

not count her ballot based on a missing date. She was not notified of any opportunity to cure any

defect prior to Election Day and only learned after Election Day that her vote was not counted.

       Marlene Gutierrez has submitted a signed declaration in which she declares that she is a

York County voter who sought to vote in the November 2022 election. See ECF No. 121-4,

generally. She is 64 years old and has been a registered voter in York County since September

2020. For the November 2022 election, Gutierrez properly requested a mail ballot, marked her

ballot, and inserted it into the secrecy envelope and then into the outer return envelope on which

she signed the voter declaration. She believed she had followed all the instructions but learned

on Election Day that her ballot would not be counted and she did not have time to cure her ballot.

The York County Board did not count Gutierrez’s ballot because of a missing date.

       Laurence Smith declares that he is a Montgomery County voter who sought to vote by

mail in the November 2022 election. See ECF No. 121-8, generally. He is 78 years old and has

been a registered voter for decades. He has voted regularly in Montgomery County since

moving there in 1991. For the November 2022 election, Smith properly requested a mail ballot,

marked his ballot, and inserted it into the secrecy envelope and then into the outer return

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envelope on which he signed the voter declaration. The Montgomery County Board of Elections

did not count Smith’s ballot based on a missing date on the voter declaration. Smith believed he

had followed all the necessary steps to complete the declaration and he was unaware of what the

Montgomery County Board of Elections concluded was wrong with the date form. Smith was

not notified of any opportunity to cure any defect prior to Election Day.

       Joel Bencan is also a Montgomery County voter who sought to vote by mail in the

November 2022 election. His declaration states that he is 71 years old, has been a registered

voter for decades, and has participated regularly in elections since the Nixon Administration.

See ECF No. 121-7, generally. Bencan properly requested a mail ballot, marked his ballot, and

inserted it into the secrecy envelope and then into the outer return envelope on which he signed

the voter declaration. The Board of Elections did not count Bencan’s ballot based on a missing

date. Bencan believed he had followed all the necessary steps to complete the voter declaration,

and he was unaware of why the Board rejected the date he wrote as “incorrect.” Bencan was not

notified of any opportunity to cure any defect prior to Election Day.

       “For an injury to be ‘particularized,’ it must affect the plaintiff in a personal and

individual way.” Spokeo, 578 U.S. at 339. Here, the five individual Plaintiffs contend only that

the actions of Warren, York, and Montgomery counties have affected them in a personal way;

that is, those counties did not count their mail-in ballots and/or failed to provide them with an

opportunity to correct their offending ballots. In suing all the remaining counties, the individual

Plaintiffs instead advance “undifferentiated, generalized grievance[s] about the conduct of

government,” which cannot give them standing. See Mason v. Adams County Recorder, 901

F.3d 753, 757 (6th Cir. 2018) (citing Lance v. Coffman, 549 U.S. 437, 439-42 (2007)). The Sixth

Circuit’s decision in Mason is instructive. There, the plaintiff brought a Fair Housing Act claim

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against every county recorder in the State of Ohio, challenging the “maintenance of records that

contain racially restrictive covenants.” Id. at 754-55. The Court of Appeals concluded that the

plaintiff, who was a resident of Hamilton County, Ohio, did not have standing to sue all the

county recorders in the state because his injury was not particularized. Id. at 757. The same

holds true here. The individual Plaintiffs’ claims against the remaining county boards will be

dismissed for a lack of standing. Each individual Plaintiff only has standing against his or her

own county board of elections.

       D.      Organizational Plaintiffs Against the Nonmoving County Board Defendants

       The same is true for the allegations of the organizational Plaintiffs. As discussed above,

the organizational Plaintiffs have standing relative to their claim against some of the county

Defendants: NAACP and MTRP against the Berks County Board and the League against the

Lancaster County Board.

       Further review of the evidence of record reveals that some of the organizational Plaintiffs

have standing against some of the other nonmoving county boards. As detailed above, each

organizational Plaintiff has provided undisputed evidence of injury. But this evidence

demonstrates that their injury is not traceable or redressable as to every county board.

Reviewing all the evidence of record, the NAACP has established that its injury is traceable to

the Allegheny, Philadelphia, and York County Boards. ECF No. 280, p. 34-50. Besides the

Berks and Lancaster County Boards, the League has shown that its injury is traceable to the

Allegheny, Lehigh, and Montgomery County Boards. ECF No. 267-6, p. 10-14; ECF No. 280, p.

51-103. POWER’s injury is traceable to the Philadelphia County Board. ECF No. 267-7, p. 11-

12; ECF No. 280, p. 76-79. B-PEP has shown injury traceable to the Allegheny, Westmoreland,

and Washington County Boards. ECF No. 267-9, p. 10; ECF No. 280, p. 94-100. MTRP has



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shown its injury is traceable to Bucks, Lehigh, Northampton, and Philadelphia County Boards in

addition to Berks County Board. ECF No. 267-10, p. 10-11; ECF No. 280, p. 10-103. Common

Cause has not established that its injury is traceable to any specific county board of elections, as

it must. ECF No. 267-8, p. 9-12; ECF No. 280, p. 101-103.

       The Court has already determined that such injuries are redressable through the ordering

of declaratory and injunctive relief; but as to the remaining nonmoving county board Defendants,

these organizations have failed to demonstrate a particularized injury. See, e.g., Sprint

Commc’ns, L.P. v. APCC Servs., Inc., 554 U.S. 269, 273 (2008) (holding that each plaintiff must

plead facts specific to his or her own injury); Rogers v. Morrice, 2013 WL 5674349, at *4

(D.N.J. Oct. 16, 2013) (conclusory statements and non-particularized allegations against

individual defendants did not establish standing). In other words, none of the organizational

Plaintiffs demonstrates that they were harmed as an organization by any of the actions of the

remaining county board Defendants.

       Because the organizational Plaintiffs lack standing to bring their claims against the other

county boards, those claims will be dismissed.

       E.      The Individual Plaintiffs Against Defendant Schmidt

       Defendant Schmidt is the Secretary of the Commonwealth Department of State. He is

sued in his official capacity. According to the Amended Complaint, it is his duty “[t]o receive

from county boards of elections the returns of primary and elections, to canvass and compute the

votes cast for candidates and upon [ballot] questions required by the provisions of this act, to

proclaim the results of such primaries and elections, and to issue certificates of election.” ECF

No. 121, page 19, ¶ 37. As noted above, the individual Plaintiffs have demonstrated an injury-

in-fact. They have adequately demonstrated that their votes were denied because of a missing or



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incorrect date and that they were not afforded, in some instances, an opportunity to cure their

ballot. These are highly personal and concrete injuries. See Donald J. Trump for President, Inc.

v. Boockvar, 502 F.Supp.3d 899, 912 (M.D. Pa.), aff’d sub nom. Donald J Trump for President,

Inc. v. Sec’y of Pennsylvania, 830 Fed. Appx. 377 (3d Cir. 2020).

       The individual Plaintiffs still must establish that Secretary Schmidt caused their injuries.

Here, the individual Plaintiffs point to a November 1, 2022, email from a Department of State

official sent to all county boards of elections instructing them to “refrain from counting any

absentee and mail-in ballots received for the November 8, 2022, general election that are

contained in undated or incorrectly dated outer envelopes.” ECF No. 121-9, p. 2. This email

directed county election officials to “segregate and preserve any ballots contained in undated or

incorrectly dated outer envelopes … Do not count the votes cast on ballots with undated or

incorrectly dated ballots.” Id. Two days later, the acting Secretary issued new guidelines which

instructed counties that “ballots which are administratively determined to be undated or

incorrectly dated” should be coded as “CANC-NO SIGNATURE within the SURE system.”13

ECF No. 121-10, p. 2.

       These communications link Schmidt to the segregation and non-counting of the

individual Plaintiffs’ ballots and thereby trace the individual Plaintiffs’ injuries to the Secretary’s

actions.14 Furthermore, the individual Plaintiffs have sufficiently demonstrated that a favorable



13
  The SURE system is the Commonwealth’s Statewide Uniform Registry of Electors, a uniform
integrated computer system that, inter alia, tracks mail and absentee ballots from application
through final tabulation. See ECF No. 279, p. 188-250 (Deposition transcript of Jonathan Marks,
Pennsylvania Deputy Secretary for Elections and Commissions).
14
  This determination differs from an earlier decision reached by the Court in Boockvar, 502 F.
Supp. 3d 899 (M.D. Pa. Nov. 21, 2020). There, the Court concluded that the individual Plaintiffs
had failed to establish that the Secretary of the Commonwealth had caused their injury (denial of
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decision from this Court would redress their injuries. They specifically request that the Secretary

be enjoined from “refusing to include [their] ballots when reporting the 2022 election totals,”

thus ensuring that their votes are counted. See ECF No. 121, p. 38. This demonstrates that the

individual Plaintiffs have standing to bring both their Materiality Provision and equal protection

claims against Secretary Schmidt.

       F.      The Organizational Plaintiffs Against Defendant Schmidt

       All the organizational Plaintiffs have established an injury. The declarations of their

various leaders assert that because of the Secretary’s actions ordering the segregation and non-

counting of ballots which contained a missing or incorrect date, their organizations had to divert

already scarce resources away from their missions and toward the warning and re-education of

voters who may have filled out their ballots incorrectly. And, as noted above, these

organizations have likewise established causation given the email and the Secretary’s issuance of

a guideline instructing the counties to segregate and not count the offending ballots. Finally, this

injury is redressable in that an order from this Court requiring the ballots to be counted would

permit the organizational Plaintiffs to redirect their resources back to their stated goals and

mission for future elections.




their ability to vote). The Court noted that the only connection the plaintiffs pointed to was an
email, in which the Secretary encouraged county officials to adopt a “notice-and-cure policy.”
Id., at 913. This, the Court concluded, “does not suggest in any way that Secretary Bookvar
encouraged counties to allow exactly these types of votes to be counted.” Id. Thus, the email
evidence failed to establish that the Secretary caused the plaintiff’s injuries. Id. Here, the
opposite is true. The November 1, 2022, email coupled with the Secretary’s issuance of
additional guidance to the counties two days later links the individual Plaintiffs’ voting injuries
to the Secretary’s actions.

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       Accordingly, the Court concludes that the organizational Plaintiffs have standing to bring

their Civil Rights Act claim against Secretary Schmidt.

       G.      Summary of the Plaintiffs’ Standing

       The foregoing analysis of the standing of each Plaintiff against each Defendant may be

best summarized graphically. To wit, the Court offers the following chart:


 Plaintiff      Standing to Pursue Materiality        Standing to Pursue Equal Protection
                Provision Claims                      Claims

 Barry          Warren County;                        Secretary Schmidt
 Seastead       Secretary Schmidt

 Aynne Marg     York County;                          Secretary Schmidt
 Pleban         Secretary Schmidt
 Polinski

 Marlene        York County;                          Secretary Schmidt
 Gutierrez      Secretary Schmidt

 Laurence       Montgomery County;                    Secretary Schmidt
 Smith          Secretary Schmidt

 Joel Bencan    Montgomery County;                    Secretary Schmidt
                Secretary Schmidt

 NAACP          Allegheny, Berks, Philadelphia,       n/a
                and York Counties;
                Secretary Schmidt

 League of      Allegheny, Berks, Lancaster,          n/a
 Women          Lehigh, Montgomery Counties;
 Voters         Secretary Schmidt

 POWER          Philadelphia County;                  n/a
                Secretary Schmidt

 Common         Secretary Schmidt                     n/a
 Cause



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 Plaintiff       Standing to Pursue Materiality        Standing to Pursue Equal Protection
                 Provision Claims                      Claims

 B-PEP           Allegheny, Westmoreland,              n/a
                 Washington Counties;
                 Secretary Schmidt

 MTRP            Berks, Bucks, Lehigh,                 n/a
                 Northampton, Philadelphia
                 Counties; Secretary Schmidt




       So then, after the standing analysis, twelve county boards remain as active Defendants in

this action based on a Plaintiff’s identifiable and traceable injury in fact: Allegheny, Berks,

Bucks, Lancaster, Lehigh, Montgomery, Northampton, Philadelphia, Washington, Warren,

Westmoreland, and York. Because no Plaintiff has established standing against Adams County,

Armstrong County, Beaver County, Bedford County, Blair County, Bradford County, Butler

County, Cambria County, Cameron County, Carbon County, Centre County, Chester County,

Clarion County, Clearfield County, Clinton County, Columbia County, Crawford County,

Cumberland County, Dauphin County, Delaware County, Elk County, Erie County, Fayette

County, Forest County, Franklin County, Fulton County, Greene County, Huntingdon County,

Indiana County, Jefferson County, Juniata County, Lackawanna County, Lawrence County,

Lebanon County, Luzerne County, Lycoming County, McKean County, Mercer County, Mifflin

County, Monroe County, Montour County, Northumberland County, Perry County, Pike County,

Potter County, Schuylkill County, Snyder County, Somerset County, Sullivan County,

Susquehanna County, Tioga County, Union County, Venango County, Wayne County, and

Wyoming County, the claims brought against them will be dismissed for a lack of constitutional

standing in a separate order.



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IV.    Mootness and Ripeness

       In addition to the standing inquiry, the Court’s continuing obligation to ensure its

jurisdiction includes an assessment of whether the Plaintiffs’ claims are moot. See Seneca Res.

Corp. v. Twp. of Highland, Elk Cnty., Pa. 863 F.3d 245, 252 (3d Cir. 2017). Lancaster and

Berks County raise this issue in their motion for summary judgment. See ECF No. 267, pp. 10-

11. Mootness is a doctrine which “ensures that the litigant’s interest in the outcome continues to

exist throughout the life of the lawsuit,” and which is “concerned with the court’s ability to grant

effective relief.” Hamilton v. Bromley, 862 F.3d 329, 335 (3d Cir. 2017) (citations omitted). In

other words, “a case is moot if developments occur during the course of adjudication that

eliminate a plaintiff’s personal stake in the outcome of a suit or prevent a court from being able

to grant the requested relief.” Id., at 335 (quoting Blanciak v. Allegheny Ludlum Corp., 77 F.3d

690, 698-99 (3d Cir. 1996)).

       Here, the individual Plaintiffs claim that the mandatory application of the date

requirement for mailed-in ballots violates their statutory and constitutional rights and that, as a

result, they were disenfranchised. They seek, among other forms of relief, an order from this

Court declaring the dating requirement violative of the Materiality Provision and the Equal

Protection Clause of the Fourteenth Amendment and further directing the Defendants to open

their ballots, count, and record their votes. See ECF No. 121, p. 38; ECF No. 275, p. 19. The

Plaintiffs further assert that the Defendants maintain “digital and paper records of the total

number of votes received by each candidate in past elections … [and] are capable of updating

records of the total number of votes received by each candidate in past elections if ordered to do

so by a court.” ECF No. 283, ¶¶ 113-114. No other party disputes this. See ECF No. 295




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(Lancaster County), ¶¶ 113-114; ECF No. 300 (Secretary Schmidt), ¶¶ 113-114; ECF No. 305

(Republican National Committees), ¶ 113-114.

         Plaintiffs’ claims are not moot. The requirement to date the voter declaration on the

outside envelope of a mail-in ballot in Pennsylvania remains in effect. In this case, the Court can

order meaningful relief by (1) declaring that the mandatory application of the Date Requirement

violates the Materiality Provision and the Equal Protection Clause and (2) directing the

Defendants to count and record the Plaintiffs’ votes from the 2022 election. See, e.g., Natural

Resources Defense Council v. U.S. E.P.A., 703 F.2d 700, 703 (3d Cir. 1983) (case was not moot

because Court could order relief which would alter the status quo); see also Org. for Black

Struggle v. Ashcroft, 2021 WL 1318011, at *3 (W.D. Mo. Mar. 9, 2021) (because state’s

regulation was still in effect, plaintiff’s claim that it violated the materiality provision was not

moot).

         Related to the mootness doctrine is the doctrine of ripeness. Ripeness “seeks to prevent

the courts, through the avoidance of premature adjudication, from entangling themselves in

abstract disagreements.” Planned Parenthood of Cent. N.J. v. Farmer, 220 F.3d 127, 147 (3d

Cir. 2000) (cleaned up). That is, the doctrine “serves to determine whether a party has brought

an action prematurely and counsels abstention until such time as the dispute is sufficiently

concrete to satisfy the constitutional and prudential requirements of the doctrine.” Khodara

Env’t, Inc., v. Blakely, 376 F.3d 187, 196 (3d Cir. 2004) (citation omitted). “A plaintiff

challenging a governmental enactment or policy satisfies the ripeness aspect of the case or

controversy requirement by demonstrating that operation of the enactment or policy will cause

him to sustain some immediate injury and that the judicial relief requested would address that

injury.” Cities Servs. Co. v. Dep’t of Energy, 520 F. Supp. 1132, 1139 (D. Del. Aug. 28, 1981)

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(citing Duke Power Co. v. Carolina Environmental Study Grp., 438 U.S. 59, 81 (1978)). In the

constitutional sense, a case is ripe if “the requisite injury is in sharp enough focus and the

adverseness of the parties concrete enough to permit a court to decide a real controversy and not

a set of hypothetical possibilities.” Martin Tractor Co. v. Federal Election Commission, 627

F.2d 375, 379 (D.C. Cir. 1980).

       Where, as here, a plaintiff seeks declaratory relief, courts must employ a “somewhat

refined test by examining: (1) the adversity of the parties’ interests, (2) the conclusiveness of the

judgment, and (3) the utility of the judgment.” Koons v. Platkin, 2023 WL 3478604, at *36

(D.N.J. May 16, 2023) (cleaned up). “Parties’ interests are adverse where harm will result if the

declaratory judgment is not entered.” Travelers Ins. Co. v. Obusek, 72 F.3d 1148, 1154 (3d Cir.

1995). Here, absent a declaratory judgment from this Court, the individual Plaintiffs will remain

disenfranchised and their votes will remain uncounted. Their claim that the mandatory

application of the Date Requirement violates the Materiality Provision and the Equal Protection

Clause presents “a real and substantial threat of harm.” See NE Hub Partners, L.P. v. CNG

Transmission Corp., 239 F.3d 333, 342 n.9 (3d Cir. 2001).

       The conclusiveness of the judgment examination asks whether “a declaratory judgment

definitively would decide the parties’ rights.” Id. at 344 (citation omitted). This Court must

consider whether “the legal status of the parties would be changed or clarified and [whether]

further factual development … would facilitate decision, so as to avoid issuing advisory

opinions, or the question presented is predominately legal.” Travelers Ins., 72 F.3d at 1155. In

this case, declaratory relief would affect the “legal status of the parties” by determining whether

the Commonwealth must count and record their mail-in ballots retroactively and prospectively.

A judgment from this Court would determine that issue. See, e.g., Koons, 2023 WL 3478604, at

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*37. The Plaintiffs’ challenge presents a “purely legal” question with little need for further

factual development. Their claims focus on whether the Commonwealth’s mandatory application

of the Date Requirement violates federal law, unreasonably burdening their right to vote.

Resolving their claim would conclusively determine whether the application of the requirement

infringes on their rights.

        Finally, the Court must consider whether the declaratory relief sought here “would be

useful to the parties and others who would be affected.” Id. A declaratory judgment here would

be of utility to not only the Plaintiffs but to others. If successful, not only would the Plaintiffs

have their votes counted and recorded, but declaratory relief would also be useful to all citizens

of the Commonwealth by deciding whether the mandatory application of the Date Requirement

for mail-in ballots violates federal law and is not required. Withholding declaratory judgment in

this case would continue the confusion and uncertainty now extant in the Commonwealth’s

voting procedures. Finally, the Defendants’ interests would be served by a decision in this matter

by resolving the uncertainty: either they can enforce the Date Requirement or they cannot.

        In sum then, the Plaintiffs’ claims are neither moot nor unripe. The Court will now

proceed to the merits of the Plaintiffs’ claims and the cross-motions for summary judgment.15



15
  In addition to standing, Lancaster County also moved for summary judgment arguing that the
Materiality Provision does not provide a private right of action. See ECF No. 267, p. 12-14. The
private enforceability of the Materiality Provision was raised earlier in this case by other
defendants in the context of a motion to dismiss. In declining to dismiss the Plaintiffs’ Amended
Complaint, this Court determined that the Plaintiffs had stated a plausible claim for relief, that is,
that after accepting their factual allegations as true, it was plausible that the Plaintiffs, as private
individuals, could enforce the Materiality Provision. See ECF No. 329, p. 9. See also Migliori v.
Cohen, 36 F.3d 153, 156 (3d Cir. May 27, 2022) (vacated on other grounds, 143 S. Ct. 297 (Oct.
11, 2022)). This determination, however, is not law of the case because it was based on a motion
to dismiss, not on the standards applicable to a motion for summary judgment. See Corliss v.
Varner, 247 Fed. Appx. 353, 354 (3d Cir. 2007) (noting law of the case doctrine is inapplicable
“where the legally relevant factors differ between a motion to dismiss, which relies on plaintiff's
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V.     The Cross Motions for Summary Judgment

       The cross motions for summary judgment are as follows. The Plaintiffs have moved for

summary judgment on both claims. See ECF No. 274.16 Lancaster County Board of Elections

filed a brief in opposition to the Plaintiffs’ motion (ECF No. 294) and Westmoreland County

Board of Elections filed a response joining in that opposition (ECF No. 297).17

       Secretary Schmidt did not move for summary judgment. Instead, the Secretary filed a

brief stating his position to the Plaintiffs’ motion. See ECF No. 298.18 The Secretary does not

oppose the Plaintiffs’ motion for summary judgment as to Count I (relating to the Materiality

Provision) but opposes their motion as to the Equal Protection claim. See ECF No. 298, p. 2.

       Certain political committees associated with the Republican Party as well as several

individual voters sought leave to intervene “as defendants to defend the [Pennsylvania] General

Assembly’s duly enacted laws governing the elections in which the Individual Voters, and the

Republican Committees, their candidates, their voters, and their supporters, exercise their right to


allegations in his complaint, and a motion for summary judgment which relies on the evidence in
the record”) (citations omitted). This argument has also been raised on summary judgment by
other Defendants. Lancaster County’s remaining basis for summary judgment will be discussed
in conjunction with those other motions, infra.
16
  Plaintiffs submitted multiple appendices in support of their motion and filed a Concise
Statement of Material Facts per the Local Rules of this Court. ECF No. 277-282; ECF No. 283,
respectively.
17
  In accordance with Local Rule 56(C)(1), the Lancaster County Board filed a Responsive
Concise Statement (ECF No. 302), but Westmoreland County Board did not. Nor did
Westmoreland County move for summary judgment. Berks County Board of Elections filed a
document entitled “Response in Opposition to Plaintiffs’ motion for summary judgment and
concise statement of material facts.” ECF No. 308. In actuality, the filing is a Responsive
Concise Statement and not an opposition brief.
18
  The Secretary also filed a Responsive Concise Statement (ECF No. 300), and an appendix
(ECF No. 301).


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vote and their constitutional rights to participate in elections.” ECF No. 27, p. 1. These

proposed intervenors were the Republican National Committee, the National Republican

Congressional Committee, and the Republican Party of Pennsylvania (collectively, “the RNC”).

The Court previously denied the motion as to the individual voters but granted leave for the

committees to intervene as defendants. See ECF No. 167.

          The RNC filed a motion for summary judgment in support of the mandatory application

of the date requirement. ECF No. 270.19 Briefs in opposition to the RNC’s motion were filed by

five County Boards of Elections jointly (Allegheny, Bucks, Chester, Montgomery, and

Philadelphia County Boards) (see ECF No. 310). The Plaintiffs then filed an omnibus opposition

to Lancaster County, Berks County, and the RNC’s motions for summary judgment. ECF No.

313. The RNC filed a reply brief. See ECF No. 318.20

          Several non-parties have also demonstrated an interest in this litigation. The Lawyers

Democracy Fund (“LDF”) and Restoring Integrity & Trust In Elections, Inc. (“RITE”) have both

filed briefs amicus curiae in support of the RNC’s position. See ECF No. 328; ECF No. 333.

Also, the Civil Rights Division of the United States Department of Justice has filed a Statement

of Interest of the United States.21 ECF No. 229. The Department of Justice argues that the

Commonwealth’s date requirement violates the Materiality Provision.



19
     The RNC also filed an appendix (ECF No. 273) and a Concise Statement (ECF No. 272).
20
  Responsive Concise Statements were filed by the Secretary [ECF No. 299], Plaintiffs [ECF
No. 315], and the five County Boards [ECF No. 311]. The five County Boards jointly filed an
Appendix. ECF No. 312. Additionally, the five County Boards included additional material facts
in their Responsive Concise Statement and the RNC filed a response to those [ECF No. 321].
21
  28 U.S.C. § 517 authorizes the Attorney General of the United States “to attend to the interests
of the United States in a suit pending in a court of the United States.”

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       A.      The Standard of Decision

       In resolving the competing motions for summary judgment, the following standards will

guide the Court’s decision. Federal Rule of Civil Procedure 56(a) requires the court to enter

summary judgment “if the movant shows that there is no genuine dispute as to any material fact

and the movant is entitled to judgment as a matter of law.” Fed. R. Civ. P. 56(a). Under this

standard “the mere existence of some alleged factual dispute between the parties will not defeat

an otherwise properly supported motion for summary judgment; the requirement is that there be

no genuine issue of material fact.” Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 247-48

(1986). A disputed fact is “material” if proof of its existence or nonexistence would affect the

outcome of the case under applicable substantive law. Anderson, 477 U.S. at 248; Gray v. York

Newspapers, Inc., 957 F.2d 1070, 1078 (3d Cir. 1992). An issue of material fact is “genuine” if

the evidence is such that a reasonable jury could return a verdict for the nonmoving party.

Anderson, 477 U.S. at 257; Brenner v. Local 514, United Bhd. of Carpenters and Joiners of Am.,

927 F.2d 1283, 1287-88 (3d Cir. 1991).

       When determining whether a genuine issue of material fact remains for trial, the court

must view the record and all reasonable inferences to be drawn therefrom in favor of the

nonmoving party. Moore v. Tartler, 986 F.2d 682 (3d Cir. 1993); Clement v. Consol. Rail Corp.,

963 F.2d 599, 600 (3d Cir. 1992); White v. Westinghouse Electric Co., 862 F.2d 56, 59 (3d Cir.

1988). To avoid summary judgment, however, the nonmoving party may not rest on the

unsubstantiated allegations of his or her pleadings. Instead, once the movant satisfies its burden

of identifying evidence that demonstrates the absence of a genuine issue of material fact, the

nonmoving party must go beyond the pleadings with affidavits, depositions, answers to




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interrogatories or other record evidence to demonstrate specific material facts that give rise to a

genuine issue. Celotex Corp. v. Catrett, 477 U.S. 317, 324 (1986).

       Further, under Rule 56, a defendant may seek summary judgment by pointing to the

absence of a genuine fact issue on one or more essential claim elements. The Rule mandates

summary judgment if the plaintiff then fails to make a sufficient showing on each of those

elements. When Rule 56 shifts the burden of production to the nonmoving party, “a complete

failure of proof concerning an essential element of the nonmoving party’s case necessarily

renders all other facts immaterial.” Celotex, 477 U.S. at 323. See Harter v. G.A.F. Corp., 967

F.2d 846, 851 (3d Cir. 1992).

       The foregoing standards are no differently applied when reviewing cross-motions for

summary judgment. Lawrence v. City of Phila., 527 F.3d 299, 310 (3d Cir. 2008). “‘Cross-

motions are no more than a claim by each side that it alone is entitled to summary judgment, and

the making of such inherently contradictory claims does not constitute an agreement that if one is

rejected the other is necessarily justified or that the losing party waives judicial consideration and

determination whether genuine issues of material fact exist.’” Id. (quoting Rains v. Cascade

Indus., Inc., 402 F.2d 241, 245 (3d Cir. 1968)). If review of cross-motions reveals no genuine

issue of material fact, then judgment may be granted in favor of the party entitled to judgment in

view of the law and undisputed facts. Iberia Foods Corp. v. Romeo, 150 F.3d 298, 302 (3d Cir.

1998) (citation omitted).

       The Local Rules of this Court require that a motion for summary judgment under Federal

Rule 56 be supported by “a separately filed concise statement setting forth the facts essential for

the Court to decide the motion, which the moving party contends are undisputed and material.”

LCvR 56(B)(1). Local Rules such as ours have been found “essential to the Court’s resolution of

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a summary judgment motion due to its role in organizing evidence, identifying undisputed facts,

and demonstrating precisely how each side proposed to prove a disputed fact with admissible

evidence.” Weitzner v. Sanofi Pasteur Inc., 909 F.3d 604, 613 (3d Cir. 2018) (citations omitted).

See also Weimer v. County of Fayette, 2022 WL 28119025, at *10 (W.D. Pa. July 19, 2022)

(“The purpose of Local Rule 56(B)(1) is to aid the Court in deciding a motion for summary

judgment by identifying material facts and supporting documentation to determine whether the

fact is disputed.”) (citation omitted) reversed in part on other grounds, 2023 WL 7221027 (3d

Cir. Nov. 2, 2023).

       The Plaintiffs filed a Concise Statement in support of their motion. See ECF No. 283.

Moving Defendants Lancaster and Berks Counties and the RNC have also filed Concise

Statements in support of their motions.22 As indicated in their Responsive Concise Statements,

the moving Defendants, in large part, do not dispute the Plaintiffs’ factual assertions. See ECF

Nos. 295 (Lancaster County) and 305 (RNC).23 The following factual background is recounted

from the parties’ Concise Statements and the exhibits attached thereto. Disputes of fact will be



22
  The Local Rules mandate that a concise statement set forth facts essential for the Court to
decide the motion for summary judgment and each statement must be supported by a citation to a
particular pleading, deposition, answer to interrogatory, admission on file or other part of the
record. See Local Rule of Civil Procedure 56(B)(1). Courts within the Western District of
Pennsylvania require strict compliance with the provisions of Local Rule 56. See, e.g., Peay v.
Sager, 2022 WL 565391, at *1 (W.D. Pa. Feb. 1, 2022), report and recommendation adopted,
2022 WL 562936 (W.D. Pa. Feb. 24, 2022), aff’d, 2022 WL 17819629 (3d Cir. Dec. 20, 2022);
First Guard Ins. Co. v. Bloom Servs., Inc., 2018 WL 949224, at *2-3 (W.D. Pa. Feb. 16, 2018).
In large part, the RNC’s Concise Statement advances legal conclusions rather than facts
supported by evidence. See, e.g., ECF No. 272, ¶¶ 36 (“… the current state of the law is that the
General Assembly’s date requirement is mandatory and that election officials may not count any
noncompliant ballot in any election after the 2020 general election.” (citation omitted)); 40, 47.
The RNC’s Concise Statement does not comply with the Local Rules. See ECF No. 272.
23
  Defendant Schmidt also filed a Responsive Concise Statement which does not appear to
contradict the Plaintiffs’ Concise Statement on any material fact. See ECF No. 300.
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noted. In the interest of clarity and brevity, the Court will primarily cite to the Plaintiffs’

Concise Statement where the moving Defendants’ statements agree.

        B.      The Undisputed Facts

        Although the Commonwealth has long made absentee ballots available for voters who

could not cast their ballot on Election Day, new mail-in voting provisions were enacted in 2019

by the General Assembly to make voting by mail an option for all registered voters. See ECF

No. 283, ¶¶ 1-2. Millions of Pennsylvanians availed themselves of this new option in the

November 2020 and November 2022 elections. Id. at ¶ 3.

        To vote by mail, voters apply to their county board of elections, providing their date of

birth, address, length of time as a resident of the voting district, and proof of identification (either

a Pennsylvania driver’s license number or, if the voter does not have a Pennsylvania driver’s

license, the last four digits of the voter’s Social Security number). Id. at ¶ 5. The county boards

of elections then verify that they are qualified to vote in Pennsylvania. In the Commonwealth, a

qualified voter is one who, on the day of the next election, has been a United States citizen for at

least one month, is at least 18 years old, has resided in the election district for at least 30 days,

and has not been confined in a penal institution for a conviction of a felony within the last five

years. Id. at ¶ 4. See also 25 Pa. C.S. § § 1301, 1327(b). Once the voter’s proof of

identification has been verified, the county boards compare the information in the application to

the information provided at the time of registration using the data from the Statewide Uniform

Registry of Electors (“SURE”) system. Id. at ¶ 6. Each county maintains its own official voter

rolls within the Commonwealth’s SURE system. See ECF No. 279, pp. 207, 267. Only after

verifying the voter’s qualifications to vote do the county boards issue vote by mail ballot

packages to voters. ECF No. 283, ¶ 7. The county board’s decision that an individual is

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qualified to vote is conclusive unless the voter’s eligibility is challenged prior to Election Day.

Id. at ¶ 8. See also 25 P.S. § 3150.12b.

       The county board then mails a ballot package to the voter. Id. at ¶ 9. The ballot package

consists of the ballot itself, instructions, a “Secrecy Envelope,” and a larger pre-addressed outer

“Return Envelope” on which a voter declaration form is printed. Id. at ¶ 9. The Election Code

provides that the inner Secrecy Envelope be marked with the words “Official Election Ballot”

and nothing else. 25 P.S. § 3146.4. The larger outer Return Envelope is to contain “the form of

declaration of the elector, and the name and address of the county board of election of the proper

county.” ECF No. 305, at ¶ 9 (“Said form of declaration and envelope shall be as prescribed by

the Secretary of the Commonwealth and shall contain among other things a statement of the

electors’ qualifications, together with a statement that such elector has not already voted in such

primary or election.”). 24 Id. The outer Return Envelope is printed with a unique barcode

associated with the individual voter. That unique barcode is used to track the ballot through the

SURE system. ECF No. 300, ¶ 6. During his deposition, Deputy Secretary of State Jonathan

Marks clarified: “The counties do record returned ballots in the SURE system. … There is a

barcode, a unique barcode on each envelope that’s returned to the County that the County uses to

scan. And that unique barcode is attached to that specific voter who requested the absentee or

mail-in ballots. So, yes, the counties record those envelopes as returned in the SURE system.”

ECF No. 279, p. 223-244. Further, the Election Code requires the mail-in voter to “fill out, date

and sign the declaration printed on” the outer Return Envelope. ECF No. 300, at ¶ 13. See also



24
  The Commonwealth provides the county boards with approved envelope templates, but the
format and layout of the outer envelope may vary by county. ECF No. 279, p. 209 (Marks
deposition).

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25 P.S. § 3150.16(a). The voter declaration includes a line for the voter to sign and date the

declaration.25 Id. This is a reproduction of the back of the outer envelope:

       The voter declaration on the outer Return Envelope reads:

               I hereby declare that I am qualified to vote in this election; that I have not already
               voted in this election, and I further declare that I marked my ballot in secret. I am
               qualified to vote the enclosed ballot. I understand I am no longer eligible to vote
               at my polling place after I return my voted ballot. However, if my ballot is not
               received by the county, I understand I may only vote by provisional ballot at my
               polling place, unless I surrender my balloting materials, to be voided, to the judge
               of elections at my polling place.


ECF No. 288, p. 210.

       The voter is instructed to mark their ballot, put it inside the Secrecy Envelope, and place

that into the outer Return Envelope. The voter declaration on the Return Envelope is to be

completed at “any time” between receiving the ballot package and 8:00 p.m. on Election Day.

Id. at ¶¶ 10, 54. See also 25 P.S. § 3150.16(a). After completing the ballot, the voter either

mails the ballot to the county board of elections or personally delivers it to the board’s office.

The county board of elections must receive the voter’s completed ballot package by 8:00 p.m. on

Election Day. Id. at ¶ 11. Upon receipt of the ballot package, the county boards stamp or

otherwise mark the Return Envelope with the date of receipt to confirm its timeliness and log its

receipt into the SURE system. Id. at ¶ 12.26



25
  The exact phrasing under the date line varies by county – for example, some counties use
“Today’s date (required)/Fecha de hoy (obligatorio),” while others use “Today’s date
(MM/DD/YYYY) (required).” Id. at ¶ 46.
26
  Under the Election Code, county boards of elections have a statutory obligation to track the
date that every mail ballot was received and make that information available for public
inspection. 25 P.S. § § 3146.9(b)(5), 3150.17(b)(5).

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       The requirement of placing a date on the Return Envelope of a mail-in ballot has been the

subject of repeated litigation in both state and federal courts. Id. at ¶ 14. In the run up to the

2022 election, the Secretary of the Commonwealth advised county election officials to count

otherwise valid and timely-received mail ballots even where voters omitted a handwritten date,

or wrote a plainly wrong date like a birthdate, on the voter declaration on the Return Envelope.

Id. at ¶ 15. This guidance was reaffirmed on October 11, 2022. Id. at ¶ 16.

       On October 16, 2022, a group of petitioners brought a King’s Bench petition27 in the

Supreme Court of Pennsylvania seeking to invalidate mail ballots based on voter errors or

omissions with respect to the date of the declaration on the outer Return Envelope. Id. at ¶ 17.

On November 1, 2022, that Court issued a unanimous order, without opinion, directing that

county boards “refrain from counting” mail ballots “contained in undated or incorrectly dated

outer envelopes,” because the justices were evenly divided28 on the issue of whether failing to

count the disputed ballots violates the federal Materiality Provision. Id. at ¶ 18. See also Ball v.

Chapman, 284 A.3d 1189 (Pa. 2022).

       Later that same day, Deputy Secretary Marks sent an email to all county elections

officials advising of the Supreme Court’s order to “refrain from counting any absentee and mail-

in ballots received for the November 8, 2022, General Election that are contained in undated or


27
  A King’s Bench Petition is not an appeal from a lower court decision, but instead is an action
initiated directly in the Supreme Court of Pennsylvania based on its “general superintendency
over inferior tribunals even when no matter is pending before a lower court.” See Thomas v.
Piccione, 2013 WL 5566506, at *4 n.4 (W.D. Pa. Oct. 9, 2013) (quoting Bd. of Revision v. City
of Phila., 4 A.3d 610, 620 (Pa. 2013)).
28
  At the time of the decision, the Pennsylvania Supreme Court had only six justices due to the
recent death of Chief Justice Max Baer around October 1, 2022. See
http://www.pacourts.us/news-and-statistics/news/news-detail/1115/pennsylvania-supreme-court-
announces-passing-of-chief-justice-max-baer.

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incorrectly dated outer envelopes,” and to “segregate and preserve any ballots contained in

undated or incorrectly dated outer envelopes … [officials] must remember to do two things as

[they] pre-canvass and canvass absentee and mail-in ballots: Segregate AND preserve these

undated and incorrectly dated ballots; and Do not count the votes cast on ballots with undated or

incorrectly dated ballots.” Id. at ¶ 19 (emphasis and underlining in original).

       On November 3, 2022, Acting Secretary of the Commonwealth Leigh Chapman issued

new guidance instructing county election officials that “ballots which are administratively

determined to be undated or incorrectly dated” should be coded as “CANC – NO SIGNATURE

within the SURE system” and should be “segregated from other ballots.” Id. at ¶ 20. Then, on

November 5, 2022, the Supreme Court of Pennsylvania issued a supplemental order defining

“incorrectly dated outer envelopes” as “(1) mail-in ballot outer envelopes with dates that fall

outside the date range of September 19, 2022, through November 8, 2022;29 and (2) absentee

ballot outer envelopes with dates that fall outside the date range of August 30, 2022, through

November 8, 2022.” Id. at ¶ 21; ECF No. 281, p. 31-2.

       The November 2022 General Election involved races for the United States Senate, United

States House of Representatives, Pennsylvania Governor, and Pennsylvania House and Senate

offices. Id. at ¶ 33. The county boards of elections reported receiving approximately 1.2 million

mail and absentee ballots in the election. Id. at ¶ 35. Approximately 10,500 mailed ballots were

segregated by county boards of elections based on missing or incorrect dates on the voter

declaration on the outer Return Envelopes. Id. at ¶ ¶ 36, 38. County boards of elections




29
  These dates—September 19 through November 8, 2022—will be referred to herein as the “Ball
date range.”

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acknowledge that they did not use the handwritten date on the voter declaration on the Return

Envelope for any purpose related to determining a voter’s age (id. at ¶ 46), citizenship (id. at ¶

48), county or duration of residence (id. at ¶ 49), felony status (id. at ¶ 50), or timeliness of

receipt (id. at ¶ ¶ 51-52). All the voters whose ballots were set aside in the November 2022

election solely because of a missing or incorrect date on the outer Return Envelope had

previously been determined to be eligible and qualified to vote in the election by their county

board of elections. Id. at ¶ 42.

       C.       The Materiality Provision Claim

       Plaintiffs argue that the mandatory application of the Date Requirement violates the

Materiality Provision of the Civil Rights Act. See, e.g., ECF No. 275. The RNC and Lancaster

and Berks Counties disagree.30 See, e.g., ECF No. 271, pp. 11-12. No other county board offers

argument on this point.



30
   Secretary Schmidt agrees with the Plaintiffs and argues in favor of the motion for summary
judgment on the Materiality Provision claim. He states that in the 2022 general election, more
than 10,000 eligible voters had their ballots cancelled for “failing to handwrite a date that serves
no purpose in the administration of Pennsylvania’s elections.” ECF No. 298, p. 6. The Secretary
argues that the mandatory application of the Date Requirement violates federal law and he asks
that summary judgment be granted against him and in favor of Plaintiffs on that claim. See id.
(“Because the undisputed facts establish that writing a date on the declaration submitted with an
absentee or mail ballot serves no purpose in the administration of Pennsylvania’s election, it is
not “material” to determining an individual’s eligibility.”). Given the Secretary’s position, a
question is raised whether a controversy remains. This requires the Court to revisit subject matter
jurisdiction. “[A] suit must be justiciable throughout its pendency.” NLRB v. Gov’t of Virgin
Islands, 2021 WL 4990628, at *4 (D.V.I. Oct. 27, 2021) (citing Brown v. Phila. Hous. Auth., 350
F.3d 338, 346-47 (3d Cir. 2003)). Article III “affords federal courts the power to resolve only
‘actual controversies arising between adverse litigants.’” Whole Woman’s Health v. Jackson,
595 U.S. 30, 39 (2021) (quoting Muskrat v. United States, 219 U.S. 346, 361 (1911)). Arguably,
Plaintiffs and the Secretary of the Commonwealth are no longer adverse litigants. But the
Secretary’s position alone is insufficient to destroy standing or to render this case moot. As
discussed above, each of the Plaintiffs have constitutional standing against the Secretary. There
is an injury to each Plaintiff that is traceable to the Secretary which is likely to be redressed by
favorable judicial intervention. See supra, p. 30, et seq.; Lujan, 504 U.S. at 561. Despite the
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       The Civil Rights Act of 1964 forbids discrimination in many fundamental aspects of

American life. The Supreme Court has referred to this Act as a “most comprehensive []

undertaking [designed] to prevent through peaceful and voluntary settlement discrimination in

voting, as well as in places of accommodation and public facilities, federal secured programs and

in employment.” Heart of Atlanta Motel, Inc., v. United States, 379 U.S. 24, 246 (1964). The

opening provision of the statute provides insight into Congress’ intent:

               “All citizens of the United States who are otherwise qualified by law to vote at
               any election by the people in any State, Territory, district, county, city, parish,
               township, school district, municipality, or other territorial subdivision, shall be
               entitled and allowed to vote at all such elections, without distinction of race,
               color, or previous condition of servitude; any constitution, law, custom, usage, or
               regulation of any State or Territory, or by or under its authority, to the contrary
               notwithstanding.”
52 U.S.C. § 10101(a)(1).31 The statute further prohibits state officials from denying any

individual the right to vote “because of an error or omission on any record or paper” that relates



Secretary’s legal position in this case, the county boards of elections remain bound by the state
Supreme Court’s holding directing that undated and misdated mail ballots be segregated and not
counted. Because Plaintiffs’ injuries can only be redressed by the declaratory judgment sought,
an actual case or controversy still remains.

31
  Lancaster and Berks Counties also assert that the Materiality Provision only applies to racially
motivated laws. See ECF No. 294, pp. 8-10. Despite the fact that the heading of 52 U.S.C. §
10101(a) references “[r]ace, color, or previous condition,” it only does so in the subjunctive
together with other topics: “Race, color or previous condition not to affect the right to vote;
uniform standards for voting qualifications; errors or omissions from papers; literacy tests;
agreements between Attorney General and State or local authorities; definitions.” See id.; see
also Thurston, 2023 WL 6446015, at *16; Vote.org, 2023 WL 7169095 at * 3 (“That Congress
enacted the Materiality Provision to tackle racial discrimination does not, though, mean the
provision applies only to racially discriminatory practice.”). And further, § 10101(c) provides
that “[w]henever any person has engaged or [is likely to engage in] any act or practice which
would deprive any other person of any right or privilege secured by subsection (a) or (b), the
Attorney General may institute … a civil action.” However, “[i]n any proceeding instituted
pursuant to subsection (c) in the event the court finds that any person has been deprived on
account of race or color of any right or privilege secreted by subsection (a),” additional
procedure is required to protect the voting rights of people of that particular race or color.” 52
U.S.C. § 10101(e). That Congress specifically implicated a racial motivation in some sections of
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to any “application, registration, or other act requisite to voting, if such error or omission is not

material in determining whether such individual is qualified under State law to vote in such

election.” 52 U.S.C. § 10101(a)(2)(B) (formerly codified at 42 U.S.C. § 1971). Federal courts

typically refer to this provision as the “Materiality Provision.” See, e.g., Vote.org v. Byrd, 2023

WL 7169095, at *6 n.9 (N.D. Fla. Oct. 30, 2023); League of Women Voters of Arkansas v.

Thurston, 2023 WL 6446015, at *16 (W.D. Ark. Sept. 29, 2023), judgment entered, 2023 WL

6445795 (W.D. Ark. Sept. 29, 2023); In re Georgia Senate Bill 202, 2023 WL 5334582, at *7

(N.D. Ga. Aug. 18, 2023). Here, the Plaintiffs contend that Pennsylvania’s requirement that

voters place a date on the outer envelope when returning their mail ballot for recording and

counting violates the Materiality Provision.

               1.      Private Enforcement of the Materiality Provision

                       a. Private Right of Action

       The initial question is whether the Plaintiffs, as private individuals and community

organizations, can enforce the Materiality Provision through this lawsuit. The RNC and

Lancaster and Berks Counties argue they cannot, contending that the Materiality Provision does

not permit private individuals and organizations to bring enforcement actions. This argument

was raised by the RNC in their motion to dismiss, albeit in a brief footnote. See ECF No. 194, P.

7 n2. At that time, the Court rejected that argument. See ECF No. 329, p. 9. In reraising the

argument on summary judgment, the RNC points to a decision from the United States Court of

Appeals for the Sixth Circuit in support of their position but presents no other argument. See Ne.



the statute but not in others is not indicative of their intention “to impose a racial motive qualifier
uniformly across § 10101.” Thurston, 2023 WL 6446015, at *16. Given this, the Court will not
read one into § 10101(a)(2)(B). Accord, id. The Court rejects Lancaster and Berks Counties’
argument in this regard.
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Ohio Coal. for the Homeless v. Husted, 837 F.3d 612, 630 (6th Cir. 2016). They contend that

because the Materiality Provision provides for enforcement by the United States Attorney

General, Congress must not have intended to permit actions brought by private individuals. See

ECF No. 271, p. 11; see also 52 U.S.C. § 10101(c). The Plaintiffs disagree, arguing that an

implied right of action exists and that the rights provided for in the Materiality Provision are

enforceable through 42 U.S.C. § 1983. See ECF No. 313, pp. 14-17.

       The statute itself does not expressly create a private right action. It states only that “the

Attorney General may institute … a civil action” if “any person has engaged in … any act or

practice which would deprive any other person of right or privilege secured by” the Materiality

Provision. See 52 U.S.C. § 10101(c). Although there appears to be a circuit split on this

question, this Court sides with the conclusion that the Materiality Provision includes an implied

private right of action. Compare Schwier v. Cox, 340 F.3d 1284, 1294-97 (11th Cir. 2003) with

Ne. Ohio Coal. for the Homeless, 837 F.3d at 630.

       When assessing whether private plaintiffs may enforce a federal statute without an

express cause of action, courts “must first determine whether Congress intended to create a

federal right.” Gonzaga v. Doe, 536 U.S. 273, 283 (2002). See also Health & Hospital Corp. of

Marion Cty. v. Talevski, 599 U.S. 166, 176 (2023) (“[W]e have crafted a test for determining

whether a particular federal law actually secures rights for § 1983 purposes” and citing

Gonzaga). “[A]n implied right of action exists if ‘a statute … manifests Congress’ intent to

create (1) a personal right, and (2) a private remedy.” Three Rivers Ctr. for Indep. Living v.

Housing Auth. of City of Pittsburgh, 382 F.3d 412, 421 (3d Cir. 2004). Initially, the Court must

“analyze the statute’s text and structure to determine whether it contains ‘rights -creating’

language. [The Court] may also look to the legislative history and other indicia of legislative

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intent.” Bakos v. Am. Airlines, Inc., 748 Fed. Appx. 468, 473-74 (3d Cir. Aug. 30, 2018)

(internal quotation marks and citations omitted). See also Alexander v. Sandoval, 532 U.S. 275,

286-89 (2001) (advising that whether a statute creates an implied private right of action depends

on Congress’ intent, which must be determined by first looking to the statutory text). “When

‘rights or duty-creating language’ is not explicitly included in a statute, a court will rarely imply

congressional intent to create a private right of action.” Spencer Bank, S.LA. v. Seidman, 309

Fed. Appx. 546, 549 (3d Cir. 2009) (quoting Gonzaga, 536 U.S. at 284 n.3 (2002)).

       Courts look to three factors when determining whether statutory text contains rights-

creating language: “(1) the statutory provision must benefit the plaintiffs with a right

unambiguously conferred by Congress; (2) the right cannot be so ‘vague and amorphous’ that its

enforcement would strain judicial competence; and (3) the statute must impose a binding

obligation on the States.” Lewis v. Alexander, 685 F.3d 325, 344 (3d Cir. 2012) (citing Blessing

v. Freestone, 520 U.S. 329, 340-41 (1997)).

       Here, the Materiality Provision expressly provides that “No person acting under color of

state law shall … deny the right of any individual to vote in any election because of an error or

omission on any record or paper relating to any application, registration, or other act requisite to

voting, if such error or omission is not material in determining whether such individual is

qualified under State law to vote in such election. See 52 U.S.C. § 10101(a)(2)(B). This

language “clearly imparts an individual entitlement with an unmistakable focus on the benefitted

class;” namely, the right of voters to vote, unimpeded by unnecessary and/or immaterial

requirements. Grammar v. John J. Kane Reg’l Ctrs., 570 F.3d 520, 526 (3d Cir. 2009) (quoting

Sabree v. Richman, 367 F.3d 180, 187 (3d Cir. 2004)). Moreover, the provision’s language is

“clearly analogous to the right-creating language cited by the Supreme Court in Gonzaga … the

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subject of the sentence is the person acting under color of state law, but the focus of the text is

nonetheless the protection of each individual’s right to vote.” Schwier, 304 F.3d at 1296.

       Second, this right is not vague or amorphous such that it strains judicial competence. The

provision protects a citizen’s right to vote by forbidding a state actor from disqualifying a voter

because of their failure to provide or error in providing some unnecessary information on a

voting application or ballot. See id., at 1297. And third, the language of the provision is

mandatory as opposed to discretionary or precatory: “no person acting under color of state law

shall … deny the right of any individual to vote ….” 52 U.S.C. § 10101(a)(2)(B). This analysis

leads to the conclusion that an implied right of action exists within the Materiality Provision of

the Civil Rights Act. Accord Schwier, 304 F.3d at 1294 (holding longstanding private right of

action to enforce voting rights survived amendment adding enforcement by the Attorney

General); League of Women Voters, 2023 WL 6446015, at *16; Vote.org v. Georgia State

Election Bd., 2023 WL 2432011, at *6 (N.D. Ga. Mar. 9, 2023).

                       b. Enforcement through § 1983

       Apart from an implied private right of action, the Plaintiffs may also enforce the

Materiality Provision via an action brought under 42 U.S.C. § 1983. Where a statute is found to

secure a federal right, that right “is presumptively enforceable through § 1983.” Gonzaga, 536

U.S. at 283-84. This presumption is not easily overcome, and the Defendants have failed to do

so here. See Livadas v. Bradshaw, 512 U.S. 107, 133 (1993). Their argument is that because the

Materiality Provision only authorizes suits “by the Attorney General,” Congress cannot have

intended to permit such actions to be brought under § 1983. See ECF No. 271, p. 11. But the

existence of a public remedy available to the Attorney General does not preclude a private action

to enforce the statute under § 1983. See Schwier, 340 F.3d at 1295-97. See also Allen v. State

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Bd. of Educ., 393 U.S. 544, 556 (1969) (holding that the goals of the Civil Rights Act were more

likely to be realized if private citizens were not “required to depend solely on litigation instituted

at the discretion of the Attorney General”).

        When previously presented with this same issue, the Court of Appeals for the Third

Circuit agreed and held that the Materiality Provision imparts a “personal right of action”

through § 1983 because it “places all citizens qualified to vote at the center of its import and

provides that they shall be entitled and allowed to vote.”32 Migliori v. Cohen, 36 F.4th 153, 159

(3d Cir. 2022) (quotation and citation omitted), cert. granted, judgment vacated sub nom. Ritter

v. Migliori, ___ U.S. ___, 143 S. Ct. 297 (2022). There, the Court of Appeals ruled that the

inclusion of a right of action for the United States, by way of the Attorney General, does not

preclude a right of action for private plaintiffs through § 1983. The Court noted that the

Attorney General’s enforcement authority is not made exclusive nor does the Materiality

Provision include an “express provision” limiting situations where private actions may be

authorized. 36 F.4th at 160-161. So, this Court concludes that private plaintiffs may enforce the

Materiality Provision through an action brought under § 1983.

               2.      The Court of Appeals’ decision in Migliori.

       The discussion above invokes the Court of Appeals’ decision in Migliori, which was later

vacated as moot by the Supreme Court. The RNC questions the value of that decision and argues

that this Court cannot consider Migliori because it lacks precedential effect. See ECF No. 271, p.

22. The RNC contends that the Court of Appeals’ decision is “untested” and “erased” because



32
  The Court of Appeals did not decide whether Congress intended to create the implied right of
action discussed in Part 1(a) above. See Migliori, 36 F.4th at 159.


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the Supreme Court vacated it on mootness grounds and thus it cannot be considered in any

way.33 Id. Curiously, Lancaster and Berks Counties cite to the District Court’s opinion in

Migliori, not the appellate decision, perhaps believing that because the Supreme Court vacated

the Court of Appeals’ decision, only the District Court’s decision remains good law. See, e.g.,

ECF No. 267, pp. 12-14 (citing Migliori v. Lehigh Cnty. Bd. of Elections, 2022 WL 802159

(E.D. Pa. Mar. 16, 2022)). For their part, the Plaintiffs contend that the Court of Appeals’

decision remains “persuasive authority” despite its vacatur. ECF No. 311, p. 14, n.6 (citing

Polychrome Int’l Corp. v. Krigger, 5 F.3d 1522, 1534 (3d Cir. 1993)).

       The Supreme Court’s decision to vacate the Court of Appeals’ decision in Migliori was

not unusual. It is “established practice” for the Supreme Court to vacate and direct dismissal of a

civil case “which has become moot while on its way here or pending our decision on the merits.”

See Wright and Miller, § 3533.10.3 Other Mootness on Appeal, 13C Fed. Prac. & Proc. Juris. §

3533.10.3 (3d ed.) (quoting United States v. Munsingwear, Inc., 340 U.S. 36, 39 (1950)). See

also Democratic Nat. Comm. v. Republican Nat. Comm., 673 F.3d 192, 219 n.27 (3d Cir. 2012)

(citing Munsingwear). That is what happened in Migliori—the case became moot while the

petition for certiorari was pending. See Supreme Court Docket No. 22-30. The Supreme Court




33
  The RNC’s argument that the Court of Appeals’ Migliori decision has been “erased” is
somewhat disingenuous in this technological age. Migliori, and the Court of Appeals’ reasoning,
remains in the public domain, easily accessed through legal research sites or by a rudimentary
Internet search. Indeed, courts have concluded that because a decision was “[publicly] available
through Westlaw and Lexis,” it has use to “future litigants as persuasive authority.” Nease v.
State Farm Mut. Auto. Ins., 2014 WL 6626430, at *2 (E.D. Okla. Nov. 21, 2014) (citing Summit
Fin. Resources LLP v. Kathy’s General Store, Inc., 2011 WL 3666607, at *2 (D. Kan. Aug. 27,
2011)).


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ultimately granted the petition, vacated the Court of Appeals’ judgment, and remanded with

instructions to dismiss. See id.

       Migliori involved a similar challenge to the application of the Date Requirement arising

out of a 2021 judicial election in Lehigh County, Pennsylvania. There, two hundred fifty-seven

(257) out of approximately twenty-two thousand (22,000) mail-in or absentee ballots were not

counted by the Lehigh County Board of Elections because they lacked a handwritten date on the

outer envelope. When the results were tabulated, the candidates for county Common Pleas Court

judge were separated by a mere seventy-four (74) votes. Litigation in the state courts ensued.

Following conclusion of that litigation, disenfranchised voters—including Migliori—sued the

Lehigh County Board in federal court arguing that the county board’s decision to not count the

disputed ballots violated their rights under the Materiality Provision and the First and Fourteenth

Amendments. Ritter and Cohen, the candidates for the contested judicial seat, intervened. Cross

motions for summary judgment followed and the district court granted summary judgment in

favor of Defendants on both claims reasoning that the disenfranchised voters lacked capacity to

bring suit under the Materiality Provision and that the Date Requirement did not create an undue

burden on the voters’ constitutional rights. See Migliori v. Lehigh County Bd. of Elections, 2022

WL 802159 (E.D. Pa. Mar. 16, 2022).

       On appeal, the Third Circuit held that the Lehigh County Board’s application of the

dating provisions to the qualified voters’ ballots violated the Materiality Provision: “[B]ecause

their omissions of the date on their outside envelopes is immaterial to determining their

qualifications, [the Lehigh County Board] must count their ballots. Otherwise, [the Lehigh

County Board] will violate the Materiality Provision by denying Voters their right to vote based




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on an omission immaterial to determining their qualifications to vote.” 36 F.4th at 164. In its

remand, the Circuit directed the district court to order the undated ballots be counted. Id.

       Immediately thereafter, candidate David Ritter asked the United States Supreme Court to

stay the Circuit’s order that the misdated ballots be counted. Justice Samuel Alito granted the

stay, pending the further review of all the Justices. See Ritter v. Migliori, 2022 WL 1743146

(May 31, 2022). Several days later, the full Court denied a stay and vacated Justice Alito’s prior

order. Ritter v. Migliori, ___ U.S. ___, 142 S. Ct. 1824 (June 9, 2022). After the denial of the

stay, the Lehigh County Board began to count the disputed ballots. Candidate Zachary Cohen

won election by five votes, overcoming a seventy-one-vote lead initially held by his opponent,

Ritter. Ritter did not seek a recount nor challenge the election certification but instead conceded

the election. See Rudy Miller, “5 Vote Lead will hold up Lehigh County Judges races as

opponent concedes,” Lehigh Valley Live.com (June 21, 2022),

http://www.Lehighvalleylive.com/news/2022/06/5-vote-lead-will-hold-up-lehigh-county-judges-

race-as-opponent-concedes. After this concession, the Supreme Court granted certiorari, vacated

the Court of Appeals decision, and remanded with instructions to dismiss the case as moot. See

Ritter v. Migliori, ___ U.S.___, 143 S. Ct. 297 (Oct. 11, 2022). The Third Circuit did so by Order

dated November 16, 2022. See Migliori v. Cohen, 53 F.4th 285 (3d Cir. Nov. 16, 2022).

       Courts typically consider decisions which were vacated as moot by the Supreme Court to

lack precedential value. See id. (citing Bennett v. West Texas State Univ., 799 F.2d 155, 159 n.3

(5th Cir. 1986)). But some courts have viewed decisions rendered before a case is mooted to

have as much precedential value as any other opinion in a “living case, even though [the

decision] may not be protected as ‘stare decisis’ in the sense that it is binding in later cases.” See




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id. (citing Martinez v. Winner, 800 F.3d 230, 231 (10th Cir. 1986)). Likewise, here, the Court of

Appeals’ decision, although vacated, may yet be persuasive and/or instructive.

       At the time it decided Migliori, the Court of Appeals had before it a live case and

controversy. The case was fully briefed (including submission from several amici curiae) and

oral argument was heard. See Court of Appeals Docket Number 22-1499, ECF Nos. 16, 32, 49,

51, 55, 59, and 78 (oral argument heard on May 18, 2022). The opinion was then circulated to

the active judges of the Court of Appeals for their review, although the case was not taken up en

banc. See Court of Appeals Internal Operating Procedure 5.5.4; see also Transguard Ins. Co. of

Am., Inc., v. Hinchey, 464 F. Supp.2d 425, 435 n.6 (M.D. Pa. 2006). The Third Circuit’s

decision was thus “forged and tested in the same crucible as all opinions.” Wright and Miller, §

3533.10.3 Other Mootness on Appeal, 13C Fed. Prac. & Proc. Juris. § 3533.10.3 (3d ed.).

Although the opinion itself may now lack precedential value, see, e.g., Kania v. Archdiocese of

Phila., 14 F.Supp.2d 730, 736 (E.D. Pa. 1998), the validity of the Court of Appeals’ reasoning

was unaffected by the cases’ subsequent mootness. See, e.g., Garcia v. Spun Steak Co., 13 F.3d

296, 301 (9th Cir. 1993) (Reinhardt, J., dissenting). This Court considers the reasoning and

analysis set out in Migliori to be persuasive, if not precedential. See, e.g., United States v.

Barnes, 2021 WL 6051561, at *15, n.21 (W.D. Pa. Dec. 20, 2021); Keitt v. Finley, 2021 WL

5826196, at *3 (M.D. Pa. Dec. 8, 2021). See also Drinker v. Colonial Sch. Dist. 78 F.3d 859,

864 n.12 (3d Cir. 1996) (finding an unpublished, non-precedential opinion persuasive as “a

paradigm of the legal analysis” to be followed in a factually similar case).

       Despite negating the import and impact of the Court of Appeal’s decision in Migliori, the

RNC gives substantial weight to Supreme Court Justice Samuel Alito’s memorandum dissenting

from the denial of an application for a stay while a petition for writ of certiorari was pending in

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the Supreme Court.34 See ECF No. 271, 304, passim. But as was the case with the Court of

Appeals decision, the Justice’s dissent from the denial of a stay also lacks precedential authority.

See 18 MOORE'S FEDERAL PRACTICE § 134.05[2] (3d ed. 2011). See also Trevor N.

McFadden and Vetan Kapoor, The Precedential Effects of the Supreme Court's Emergency

Stays, 44 Harvard Journal of Law & Public Policy 827, 882 (Summer 2021) (“…decisions to

deny a stay have no precedential value.”); Bryan Garner, et al., Law of Judicial Precedent 219

(2016) (“[A] refusal to hear a case says nothing about the merits. It says only that, for any

number of possible reasons, the Court did not want to review the lower court ruling: The variety

of considerations that underlie denial of the writ counsels against according denials of certiorari

any precedential value.”) (internal citation omitted).

       Nonetheless, as with the Migliori decision, Justice Alito’s dissenting memorandum does

have some persuasive value. That value, however, is not as weighty as the Court of Appeals

decision in Migliori because the Justice’s memorandum was issued preliminarily before briefing

and/or argument were concluded and is not a decision by the entire Supreme Court.

Furthermore, although his dissent is a signal of his initial take on the issues presented, he was not

bound by his preliminary view of the case, which was based solely on an application for a stay;

in other words, he may have changed his position upon further briefing or argument.35 So then,

Justice Alito’s dissenting statement from the denial of a stay differs from the Court of Appeals

decision, which was briefed, argued, and reviewed by the active members of that Court before its


34
  Justice Thomas and Justice Gorsuch joined Justice Alito’s memorandum opinion. Presumably,
Justice Alito’s views reflect theirs as well. The remaining members of the Supreme Court did
not explain their reasons for denying a stay.

35
  Justice Alito acknowledged as much himself: “As is almost always the case when we decide
whether to grant emergency relief, I do not rule out the possibility that further briefing and
argument might convince me that my current view is unfounded.” Ritter, 142 S.Ct. at 1824.
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publication. This Court will, therefore, accord limited persuasive value to the Justice’s

dissenting memorandum.

               3. Plaintiffs’ motion for summary judgment: the Materiality Provision claim

       With the important preliminary concerns out of the way, the Court now turns to the actual

merits of the competing motions for summary judgment. As noted previously, the Civil Rights

Act’s Materiality Provision provides that

               [n]o person acting under color of law shall ... deny the right of any
               individual to vote in any election because of an error or omission
               on any record or paper relating to any application, registration, or
               other act requisite to voting, if such error or omission is not
               material in determining whether such individual is qualified under
               State law to vote in such election.

52 U.S.C. § 10101(a)(2)(B). “[T]he word ‘vote’ includes all action necessary to make a vote

effective.” Id. §§ 10101(a)(2)(3)(A); 10101(e). Here, the term “vote” encompasses the

completion of a Pennsylvania mail-in ballot.

       The Plaintiffs assert that thousands of Pennsylvania voters were disenfranchised by a

paperwork mistake that is immaterial to the voters’ qualifications, the timeliness of their ballot,

or the validity of their votes. See ECF No. 313, generally. The RNC argues that the Materiality

Provision is inapplicable here and alternatively, that Plaintiffs’ claim is based on a counter-

textual reading of the statute. See ECF No. 271, 304, generally. 36


36
   Other arguments have been raised by the parties, which to this Court, require less thorough
consideration, and divert attention from the main issue of whether the mandatory application of
the Date Requirement violates the Materiality Provision. They are dispensed with here
summarily. The Lancaster and Berks County Boards argue that the Plaintiffs have failed to
establish Monell liability. In Monell, the Supreme Court held that a municipal entity can be held
liable for the constitutional violations of its employees under 42 U.S.C. § 1983. See Monell v.
Dep’t of Soc. Servs. of City of New York, 436 U.S. 656 (1978). Implicit in any Monell claim is
the existence of an underlying constitutional violation. Onyiah v. City of Phila., 2023 WL
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       The question before the Court is whether Pennsylvania’s Date Requirement is material to

the act of voting. If the error is not material to voting, the requirement of placing a date on the

Return Envelope violates the Materiality Provision. Id.

                             a. The Third Circuit’s Migliori Framework

       When presented with the same issue after the Lancaster County Board of Elections

refused to count undated mail ballots in the November 2021 election, the Third Circuit

summarized the question and the analysis before it: “To answer this query, we must ask whether

the [Pennsylvania Date Requirement] is material in determining whether such individual is

qualified to vote under Pennsylvania law. […] [T]he requirement is material if it goes to

determining age, citizenship, residency, or current imprisonment for a felony.” Migliori, 36 F.4th

at 162-63. In other words, according to the Circuit, the Date Requirement is immaterial, and

therefore violative of federal law, if it does not go to determining age, citizenship, residency, or

current imprisonment for a felony.

       The evidence shows, and the parties either agree (Plaintiffs, RNC, Secretary Schmidt, the

Lancaster County Board and the Berks County Board) or admit (all non-responding county

boards)37, that the county boards of elections did not use the handwritten date on the Return


2467863, at *8 (E.D. Pa. Mar. 10, 2023) (citing City of Canton v. Harris, 489 U.S. 378, 385
(1989)). Defendants’ argument does not apply to the Civil Rights Act claim because Monell is
limited to constitutional violations and does not apply to violations of federal statutes such as the
Civil Rights Act. Berks County makes one argument in addition to those made by Lancaster
County: the Date Requirement on the outer envelope holds voters accountable to their
declaration that they “have not already voted in this election.” ECF No. 309. But, it is the
signature which holds the voter accountable, not the date. Whether the voter declaration is signed
is a separate matter from whether the declaration is dated correctly, or at all.
37
  Most of the Defendants to this action have not opposed the motions for summary judgment,
either by opposition brief or by responsive concise statement. If facts in a properly supported
concise statement are not properly opposed, those facts are deemed admitted. See Fed.R.Civ.P.
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Envelope for any purpose related to determining a voter’s age, citizenship, county or duration of

residence, or felony status. ECF No. 283 (Plaintiffs), 300 (Secretary), 302 (Lancaster County),

305 (RNC), and 308 (Berks County), at ¶ ¶ 47-50. Furthermore, the evidence reflects, and these

parties agree or admit, that all of the voters whose ballots were set aside in the November 2022

election solely because of a missing or incorrect date on the voter declaration on the outer Return

Envelope had previously been determined to be eligible and qualified to vote in the election by

their county board of elections before they were sent their mail-in ballot. Id. at ¶ 42.

       Following Migliori’s guidance that a requirement is material if it goes to determining age,

citizenship, residency, or current imprisonment for a felony, and given the evidence and the

parties’ agreement that the handwritten date was not used to determine any of those, the Date

Requirement is therefore immaterial. Federal law prohibits a state from erecting immaterial

roadblocks, such as this, to voting. 52 U.S.C. § 10101(a)(2)(B).

                                  b. Justice Alito’s Ritter framework

       Justice Alito’s dissenting memorandum in Ritter provides another way to analyze the

question at hand. Paraphrasing the statute, he noted five distinct elements to be considered, the

satisfaction of which would likely amount to a violation of the Materiality Provision: “(1) the

proscribed conduct must be engaged in by a person who is ‘acting under color of law’; (2) it

must have the effect of ‘deny[ing]’ an individual ‘the right to vote’; (3) this denial must be


56(e) (“If a party fails … to properly address another party’s assertion of fact as required by Rule
56(c), the court may: … grant summary judgment if the motion and supporting materials –
including the facts considered undisputed – show that the movant is entitled to it.”); Local Rule
56(E) (“Alleged material facts set forth in the moving party’s Concise Statement of Material
Facts or in the opposing party’s Responsive Concise Statement, which are claimed to be
undisputed, will for the purposes of deciding the motion for summary judgment be deemed
admitted unless specifically denied or otherwise controverted by a separate concise statement of
the opposing party.”).
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attributable to ‘an error or omission on [a] record or paper’; (4) the ‘record’ or ‘paper’ must be

‘related to [an] application, registration, or other act requisite to voting’; and (5) the error or

omission must not be ‘material in determining whether such individual is qualified under State

law to vote in such election.” Ritter, 142 S. Ct. at 1825 (Alito, J., dissenting from denial of a

stay). For completeness, an analysis under this framework is undertaken as well.

        It is not disputed that the Defendants were acting under color of state law when they

failed to count the Plaintiffs’ ballots. Nor does any party dispute that the error and/or omission

here involved a record or paper, i.e., the mail-in ballot, or that a ballot is a record related to an act

requisite to voting.38 This leaves two points of inquiry relevant in this case: does the dating

requirement have the effect of denying the Plaintiffs the right to vote, and is that requirement

material to the act of voting in the Commonwealth?

                     (i) Does the mandatory application of the Date Requirement
                                deny the Plaintiffs their right to vote?

        The Materiality Provision prohibits “deny[ing] the right of any individual to vote.” 52

U.S.C. § 10101(a)(2)(B). The Defendants argue the application of the Date Requirement does

not impinge on the right to vote of any Pennsylvanian because it effects only the “act of voting,”

not the “right to vote.” See ECF No. 271, p. 12. According to the Defendants, the Materiality

Provision only prohibits immaterial requirements affecting the qualification and registration of a

voter; not whether the State puts up any additional requirements when they cast their vote. Id.



38
  In their brief in support of their cross-motion for summary judgment, the RNC argues that
although a mail-in ballot is a “record or paper,” completing the declaration printed on the paper
ballot is not a record or paper relating to any application, registration, or other act requisite to
voting. See ECF No. 271, p. 18. But, to cast a mail-in ballot, the voter must write a date on the
envelope near the pre-printed verification. This is necessary to complete the act of voting and,
thus, implicates the statute. See 52 U.S.C. § 10101(a)(2)(B).
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So then under this reasoning, a state requirement that prospective voters write the first stanza of

the national anthem on their application to register to vote would violate the Materiality

Provision, but a regulation requiring voters to write that stanza at the polling place (or when

filling out their mail-in ballot) in order to have their ballot counted would not. This turns the

language of the statute on its head.

       A distinction between registering or qualifying to vote versus actually voting cannot

stand given the text of the statute because the Materiality Provision takes a more expansive view.

Pointedly, the Civil Rights Act defines “voting” not only as qualifying or registering to vote but

also as “all action necessary to make voting effective including but not limited to … casting a

ballot and having such ballot counted and included in the appropriate totals of votes cast.” 52

U.S.C. § 10101(a)(3)(A), § 101010(c). According to the text of the statute, declining or refusing

to count a qualified citizen’s vote based on an immaterial reason is a denial of their right to vote.

See, e.g., Ford v. Tenn. Senate, 2006 WL 8435145, at *11 (W.D. Tenn. Feb. 1, 2006), appeal

dismissed as moot sub. nom. Ford v. Wilder, 469 F.3d 500 (6th Cir. 2006). The Court does not

disagree with Justice Alito’s observation that even after qualifying and registering, a voter “may

not be able to cast a vote for any number of reasons.” Ritter, 124 S. Ct. at 1825. The Defendants

call attention to Justice Alito’s reasons why a voter may not be able to cast their ballot: they

showed up at the polls after Election Day, they failed to sign or use the secrecy envelope on an

absentee ballot, they attempted to vote for three candidates for a single office, they sent their

mail-in ballot to the wrong address, or went to an incorrect polling location on Election Day. See

ECF No. 271, p. 13 (citing Ritter, 124 S. Ct. at 1825). Although the Court expresses no opinion

on Justice Alito’s examples here, they are not supportive of the argument that the Date

Requirement is immaterial.



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       This is because immaterial rules exist that would prohibit a voter from casting their ballot

despite Defendants’ refusal to acknowledge this in their argument. If, for example, the voter was

required to wear a red t-shirt at the polling place on Election Day and was not permitted to cast a

ballot because a green shirt was worn instead (or was permitted to do so, but the ballot was later

not counted because the wrong color shirt was worn), that would be an immaterial voting rule

which would be barred by the statute. Similarly, the same would be true of a rule which required

a mail ballot to include the placement of an “I Voted” sticker on the return envelope for the vote

to be counted, for example. This Court counts the Date Requirement to be one of those

immaterial rules.

       Defendants are concerned as well that “other rules” related to casting a ballot will be put

at risk should the Materiality Provision’s reach not be limited merely to voter registration and

qualification concerns. See ECF No. 271, pp. 12-13. That misapprehends the provision’s

purpose. The Materiality Provision prohibits rules or regulations which add immaterial

requirements to the act of voting. This must include the actual casting of a vote. The act of

voting entails more than qualifying to receive a ballot. The purpose would be lost if after

qualifying to vote, a voter’s ballot would not be counted by reason of obstacles that the statute

was enacted to prohibit in the first place.

       And here, there is no dispute that the individual Plaintiffs’ votes were not counted. The

record demonstrates this immaterial error or omission of a date resulted in rejection of ballots

and disenfranchised the Plaintiffs, as well as others across Pennsylvania in the November 2022

election. Indeed, the record evidence reveals that over 7600 mail ballots in the twelve counties

were not counted for this reason. See ECF No. 277, p. 41 (Allegheny – 1009 ballots), p. 93

(Berks – 782 ballots), p. 131 (Bucks – 357 ballots); ECF No. 278, p. 44 (Lancaster – 232



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ballots), p. 56 (Lehigh – 390 ballots), p. 137 (Montgomery – 445 ballots), p. 151 (Northampton –

280 ballots), p. 185 (Philadelphia – 2617 ballots), p. 301 (Warren – 18 ballots), p. 322

(Washington – 66 ballots), p. 361 (Westmoreland – 95 ballots), and p. 434 (York – 1354 ballots).

                            (ii) The Materiality of the Date Requirement

         There are many reasons to date a document. The date a person signed a contract, for

example, may indicate that agreement’s effective date. See, e.g., In re TK Holdings, Inc., 2020

WL 3397839, at *5 (Bankr. D. Del. June 18, 2020) (holding that the effective date of a contract

is typically the date the parties signed the agreement). And, of course, the date a document is

signed may be relevant in fixing an event in time or history when considering whether a claim is

barred by a statute of limitations or whether a habeas petition has been timely filed. See, e.g.,

Bray v. Clarke, 2019 WL 7504860, at *2 n.1 (E.D. Va. Nov. 19, 2019). Dates may also be

wholly irrelevant, as in this case. The requirement at issue here is irrelevant in determining when

the voter signed their declaration. In fact, there is no indication on the ballot that the voter’s

declaration and the date must be the same day. The ballot only states that the voter place

“today’s date” on the envelope. See Figure 1, supra. No further explanation or instruction is

provided. The requirement of “today’s date” is untethered from any other requirement on the

ballot. A voter could fill out a ballot on October 19th, then sign the voter declaration on October

20th, date the declaration on October 30th (“today’s date”) and mail the ballot on November

2nd.39



39
  The RNC claims that the Date Requirement has been useful in detecting fraud in at least one
criminal case. The RNC points to the case of Commonwealth v. Mihaliak in which a daughter
completed and returned the mail ballot of her deceased mother in the 2022 primary. ECF No.
271, p. 9. The RNC misses the mark in two important ways. First, record evidence contradicts
the RNC’s statement as the county board’s own Rule 30(b)(6) designee testified that the
fraudulent ballot was first detected by way of the SURE system and Department of Health
records, rather than by using the date on the return envelope. ECF No. 315, p. 48-55. Second,
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       The important date for casting the ballot is the date the ballot is received. Here, the date

on the outside envelope was not used by any of the county boards to determine when a voter’s

mail ballot was received in the November 2022 election. ECF No. 283, at ¶¶ 51-52. Instead, the

counties time-stamped ballots when they were returned. Id. The lack of a date next to the voter

declaration on the return envelope was not material to the determination of when the ballot was

received. The counties’ use of the Commonwealth’s SURE system also renders the Date

Requirement irrelevant in determining when the ballot was received. The outer return envelope

of each mail ballot has a unique barcode associated with the individual voter. The Election Code

mandates that county boards track the date that every mail ballot is received by the board (see 25

P.S. § § 3146.9(b)(5), 3150.17(b)(5)) and a voter-specific barcode is used to do that. When the

ballot is received, the county boards of elections stamp or otherwise mark the return envelope

with the date of receipt to confirm its timeliness and then log it into the SURE system. Id. at ¶

12. Irrespective of any date written on the outer Return Envelope’s voter declaration, if a county

board received and date-stamped a 2022 general election mail ballot before 8:00 p.m. on Election

Day, the ballot was deemed timely received under the Commonwealth’s Election Code. On the

other hand, if the county board received a mail ballot after 8:00 p.m. on Election Day, the ballot

was not timely and was not counted, despite the date placed on the Return Envelope. Id. at ¶ ¶

10, 54, 56. See also 25 P.S. § § 3146.6(c), 3150.16(c). Whether a mail ballot is timely, and

therefore counted, is not determined by the date indicated by the voter on the outer return

envelope, but instead by the time stamp and the SURE system scan indicating the date of its

receipt by the county board.



and more importantly, any factual dispute regarding the initial detection of a fraudulent ballot in
the Mihaliak forgery prosecution is irrelevant to whether the mandatory application of the Date
Requirement to reject ballots violates the Plaintiffs’ statutory rights.
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        Nor does the requirement of dating the outer return envelope have anything to do with

determining a voter’s qualifications to vote. A qualified voter in Pennsylvania must be of a

particular age, must reside in the voting district where they cast their ballot for a certain duration,

and must not have been incarcerated based on a felony conviction within the last five years. See

ECF No. 283, ¶ 4 (citing 25 Pa. C.S. §§ 1301, 1327(b)). To receive a ballot, those wishing to

vote by mail must additionally provide proof of identification (such as a Pennsylvania driver’s

license number). The undisputed evidence shows that the twelve remaining county boards of

elections did not use the handwritten date on the return envelope for any purpose related to

determining a voter’s age, citizenship, county or duration of residence, or felony status, and each

of the twelve county boards has acknowledged as much. See ECF Nos. 277, p. 34 (Allegheny

County), p. 87 (Berks County), p. 128 (Bucks County); 279, pp. 81-83 (Lancaster County); 278

p. 52 (Lehigh County), 131 (Montgomery County), p. 144 (Northampton County), pp. 178-179

(Philadelphia County), p. 297 (Warren County), p. 309 (Washington County), p. 353

(Westmoreland County), p. 381 (York).40 Furthermore, it is not disputed by any party that all

voters whose ballots were set aside in the November 2022 election solely because of a missing or

incorrect date on the voter declaration on the Return Envelope had previously been determined to

be eligible and qualified to vote in the election by their county board of elections. Id. at ¶ 42. It

follows that because the date on the Return Envelope was not used to determine any of those

qualifications, it is immaterial.




 The Washington County Board has limited its admission to the 2022 Election. The
40

Westmoreland County Board limited its admission to the 2021 and 2022 Elections, but Greg
McCloskey, its deponent, did not limit his deposition testimony to those to elections.


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       Further, the record is replete with evidence that the county boards’ application of the Ball

order in the November 2022 general election created inconsistencies across the Commonwealth

in the way “correctly dated” and “incorrectly dated” ballots were rejected or counted by different

counties. This further supports the Court’s conclusion that the Date Requirement is not material.

Concerning the election at issue here, the Supreme Court of Pennsylvania set a specific date

range (September 19th through November 8th) in which a ballot would be considered correctly

dated.41 See ECF No. 281, p. 31-32 (Ball v. Chapman supplemental order). This date range did

not account for differences in ballot readiness across the counties. Counties begin sending ballots

to voters on different dates. In the November 2022 election, Elk County first sent ballot packages

to voters on September 16, 2022, but the Elk County Board’s strict compliance with the Ball

order would have made a returned Elk County ballot dated September 17, 2022 “incorrect.”

       Variations of these scenarios played out in counties across the Commonwealth. The

record reveals that some counties precisely followed the Ball date range even where the date on

the return envelope was an impossibility because it predated the county’s mailing of ballot

packages to voters. For example, Berks County counted ballots if the (incorrect) date on the

Return Envelope was September 20, 2022, even though the county did not begin sending ballot

packages to voters until seventeen days later on October 7, 2022. Id. at ¶ 92. Lancaster County

counted ballots if the (incorrect) date on the Return Envelope was September 20, 2022, even

though it did not begin sending ballot packages to voters until September 26, 2022. Id. at ¶ 93.42



41
   The Supreme Court’s November 1, 2022 order directed that undated and incorrectly dated
ballots not be counted. 284 A.3d 1189. And, four days later, the Supreme Court issued its
supplemental order defining “incorrectly dated” using the date range. See ECF No. 281, p.31-2.
42
   Other counties indicated that they would not strictly comply with the Supreme Court’s Ball
date range: Westmoreland County did not begin sending mail ballot packages to voters until
September 30, 2022. Thus, it would not have counted mail ballots that were dated within the
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        Simple voter error and partial omissions related to the date declaration also resulted in

rejection of mail ballots that were timely received according to their entry into the SURE system.

At least 605 timely-received ballots were set aside because the declaration date included an

incorrect month that showed the voter signed their declaration prior to September, and another

427 timely-received ballots were set aside because the date included an incorrect month

showing the voter signed their ballot after November 8, 2022. Id. at ¶ ¶ 74-75. These ballots were

timely received based on their entry into the SURE system, yet because of an obvious error by

the voter in relation to the date, these ballots were not counted. This shows the irrelevance of any

date written by the voter on the outer envelope.

        Moreover, at least 530 timely-received ballots were set aside because the handwritten

date included a year prior to 2022. Id. at ¶ 66. Such a date is a factual impossibility given that the

mail ballot package would have been mailed to the voter in 2022. Id. at ¶ 65. Of those 530

rejected mail ballots, at least 474 ballots had a month and day within the Ball date range, but

included a past year and at least 50 ballots had the voter’s year of birth instead of the day the

voter signed the declaration. Id. at ¶ ¶ 67-68. Conversely, and contrary to the Ball order, the

Montgomery County Board decided to count ballots if they determined the voter had written

their date of birth on the voter declaration. Id. at ¶ 69. And at least 228 timely-received ballots

were set aside due to a date that included a future year, but a month and day within the Ball date

range. Id. at ¶ 70.




Ball date range if the handwritten date on the Return Envelope was between September 19 and
September 29, 2022. Id. at ¶ 90.

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        Likewise, across the Commonwealth other timely-received ballots were set aside

because the voter declaration date omitted the year43 (id. at ¶ 71); omitted the month (id. at ¶ 76);

omitted the day44 (id. at ¶ 80); included a day that does not exist45 (id. at ¶ 77); put the date

elsewhere on the envelope (id. at ¶ 83); or included a cross-out to correct an erroneous date (id.

at ¶ 97). Additional inconsistencies arose out of county boards’ differing utilization of standard

dating conventions. Eighteen county boards of elections determined that the date written on the

voter declaration was within the “correct” date range based strictly on the American dating

convention of writing the month, day, and year (MM/DD/YYYY) in that order. These county

boards set aside ballots if the voter used a European dating convention of day, month, year

(DD/MM/YYY). Id. at ¶ 86. At the same time, at least thirty-one other counties tried to account

for both the American and European dating conventions in determining whether the Return

Envelope was dated correctly. Id. at ¶ 87. Ballots were set aside for having incorrect dates which,

if construed using the European46 dating convention, would have been within the Ball date range.

Id. at ¶ 88.



43
  Again, contrary to the Ball order, at least three county boards of elections – Blair, Fayette, and
Montgomery – decided to count ballots with partial dates if the “information in the date line was
sufficient to determine that the ballot was returned within the appropriate date range.” Id. at ¶ 72.
44
  Conversely, Bucks and Fayette counties counted mail ballots “dated October 2022 with no day
listed,” because the board was “able to ascertain what day the ballot was mailed and what day it
was received,” and the “entire month of October is included in the date range” set forth in the
Ball order. Id. at ¶ 81.
45
  However, Luzerne County did just the opposite by counting a ballot dated 09/31/2022, despite
September only having 30 days. Id. at ¶ 78.
46
  The parties use the terms European dating convention and International dating convention
interchangeably. However, the terms reflect different dating conventions and should not be
confused for each other. European dating convention is day, month, year (DD/MM/YYYY).
International dating convention, defined by ISO 8601, is year, month, day (YYYY/MM/DD).
See http://www.iso.org/iso-8601-date-and-time-format.html. Despite the parties’ conflation of
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       For all of the foregoing reasons, the application of the Date Requirement violates the

federal Materiality Provision. Accordingly, the ballots of the individual Plaintiffs should be

counted because their statutory rights have been violated.

       D.      The Equal Protection Claim47

       The individual Plaintiffs raise an equal protection claim against Secretary Schmidt. They

allege that the Commonwealth applies the envelope Date Requirement to domestic mail voters

but not to overseas and military voters. See, e.g., ECF No. 121, p. 36-7. For those ballots, any

mistake or omission in the completion of the ballot does not invalidate the ballots “as long as the

mistake or omission does not prevent determining whether a covered voter is eligible to vote.”

ECF No. 121, at ¶ 86; 25 Pa. C.S. § 3515(a). Disenfranchising qualified domestic voters while

simultaneously counting the ballots of non-domestic voters for the same error or omission on the

voter declaration serves no legitimate or compelling governmental interest. Id. at ¶ 87. Of the

remaining Defendant counties, none refused to count a military-overseas ballot due to a missing

or incorrect date on the voter declaration. The Court notes the following, based on Plaintiffs’

responses to the RNC’s concise statement:




the terms, the parties’ meaning remains clear to this Court because the parties use examples after
every mention of dating convention. No party is referring to the International dating convention
in their briefing materials. This Court will use the term European dating convention to describe a
date that is written as day, month, year (DD/MM/YYYY).

47
  The Plaintiffs’ equal protection challenge is not extensively briefed by the parties. Indeed,
several filers do not address this claim, instead limiting their briefing to the merits of the
Materiality Provision challenge. See ECF No. 229 (DOJ); ECF No. 328 (LDF); ECF No. 333
(RITE); ECF No. 294 (Lancaster County); ECF No. 297 (Westmoreland County); ECF No. 309
(Berks County).

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 County                            Number of Military/Overseas      Number of Military/Overseas
                                   Ballots Received                 Ballots Counted
 Allegheny                         151                              151 (none were undated) ECF
                                                                    No. 315, ¶ 58
 Berks                             146                              Does not state the number of
                                                                    military/overseas ballots not
                                                                    counted. Id., ¶ 61
 Bucks                             466                              466 (11 military/overseas
                                                                    ballots were undated or
                                                                    missing dates but were
                                                                    counted anyway). Id., ¶ 64
 Lancaster                         188                              188 (none were undated)
 Lehigh                            101                              101 (did not review
                                                                    military/overseas ballots for
                                                                    date requirement) Id., ¶ 93
 Montgomery                        914                              914 (none were undated) Id.,
                                                                    ¶ 100
 Northampton                       91                               Does not state the number of
                                                                    military/overseas ballots not
                                                                    counted. Id., ¶ 102
 Philadelphia                      1014                             1014 (13 of which were
                                                                    undated but counted anyway)
                                                                    Id., ¶ 105
 Warren                            8                                8 (none were undated) Id., ¶
                                                                    115
 Washington                        51                               51 (none were “required to be
                                                                    set aside”) Id., ¶ 116
 Westmoreland                      109                              109 (none were undated) Id.,
                                                                    ¶ 118
 York                              185                              Does not say how many of
                                                                    these were counted; only that
                                                                    it set aside 1354 undated
                                                                    ballots out of 37,296 total
                                                                    mail ballots received Id., ¶
                                                                    120


          Despite this evidence, however, a decision on the Plaintiffs’ equal protection claim

would amount to unnecessary constitutional adjudication. See, e.g., New Jersey Payphone Ass’n,

Inc. v. Town of W. New York, 299 F.3d 235, 239 n.2 (3d Cir. 2002). “If there is one doctrine

more deeply rooted than any other in the process of constitutional adjudication, it is that we

ought not to pass on question of constitutionality … unless such adjudication is unavoidable.”

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Spector Motor Serv. v. McLaughin, 323 U.S. 101, 105 (1944); see also Hagans v. Lavine, 415

U.S. 528, 547 (1974) (“[A] federal court should not decide federal constitutional questions where

a dispositive non-constitutional ground is available.”). Federal courts “have been instructed as a

matter of established federal jurisdiction, that a court faced with both constitutional and non-

constitutional claims must address the non-constitutional claims first, if doing so will enable the

court to avoid a constitutional confrontation.” Erie Telecommunications, Inc. v. City of Erie, Pa.,

853 F.2d 1084, 1092 (3d Cir. 1988). See also Indiana Right to Life Victory Fund v. Morales, 66

F.4th 625, 631–32 (7th Cir. ) certified question answered, 217 N.E.3d 517 (Ind. 2023) (cleaned

up) (“When we are faced with both statutory and constitutional questions, we must prioritize

resolving the statutory issues if doing so would prevent us from engaging in unnecessary

constitutional analysis.”); Free Speech Coal., Inc. v. Att’y Gen. United States, 974 F.3d 408, 430

(3d Cir. 2020) (“[W]e must avoid deciding a constitutional question if the case may be disposed

of on some other basis.”) (cleaned up); Kelly v. R.R. Ret. Bd., 625 F.2d 486, 496 (3d Cir. 1980)

(“[W]e are constrained to avoid passing upon a constitutional question if the case might be

disposed of on statutory grounds and we should not reach to decide a constitutional issue,

however intriguing.”) (cleaned up). This is prudential principle of judicial restraint. In re

Application of Storag Etzel GmbH for an Ord., Pursuant to 28 U.S.C. § 1782, to Obtain

Discovery for Use in a Foreign Proceeding, 2020 WL 2949742, at *13 (D. Del. Mar. 25, 2020)

(citing Hagans, 415 U.S. at 547), report and recommendation adopted in part sub nom. In re

Storag Etzel GmbH, 2020 WL 2915781 (D. Del. June 3, 2020). See also In re Avandia Mktg.,

Sales Pracs. & Prod. Liab. Litig., 924 F.3d 662, 680 (3d Cir. 2019) (“Although the constitutional

issue is an interesting one, we again decline to define the parameters of the First Amendment

right in a case where the common law right affords sufficient protection.”).



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       Here, the Court has concluded that the Commonwealth’s mandatory application of its

Date Requirement violates the Materiality Provision of the Civil Rights Act. Since the Court is

confident that the Plaintiffs’ motion for summary judgment should be granted on that basis, there

is no need to reach their constitutional claim. See Jean v. Nelson, 472 U.S. 846, 854 (1985)

(fundamental rules of judicial restraint require that federal courts “must consider non-

constitutional grounds for decision” before “reaching any constitutional questions”) (citation

omitted). In light of this, the Plaintiffs’ equal protection claim will be dismissed.

       E.      Conclusion

       For all of the reasons stated above, the Court concludes that the Commonwealth’s

mandatory application of the Date Requirement is immaterial, violating the Materiality Provision

of the Civil Rights Act.48 The Plaintiffs have demonstrated the absence of a genuine dispute as

to any material fact and they are entitled to judgment as a matter of law on that claim. For the

reasons stated above, their motion for summary judgment based on a claimed equal protection

violation, however, will be dismissed.

       F.      RNC’s motion for summary judgment: the Materiality Provision Claim

       “When confronted with cross-motions for summary judgment ... ‘the court must rule on

each party’s motion on an individual and separate basis, determining, for each side, whether a

judgment may be entered in accordance with the summary judgment standard.’” Hussein v.

UPMC Mercy Hospital, 2011 WL 13751, at *2 (W.D. Pa. Jan. 4, 2011) (quoting Marciniak v.

Prudential Fin. Ins. Co. of Am., 184 Fed. Appx. 266, 270 (3d Cir. 2006)). “If review of [the]



48
  Where “compliance with both state and federal law is impossible,” federal law “must prevail.”
Oneok, Inc. v. Learjet, Inc., 575 U.S. 373, 377 (2015). See also United States v. Rice, 2023 WL
4086278. At *2 (W.D. Pa. Jun. 20, 2023) (“The Supreme Court of the United States has
explained: ‘The Supremacy Clause unambiguously provides that if there is any conflict between
federal and state law, federal law will prevail.’ Gonzales [v. Raich], 545 U.S. 1, 29 (2005).”).
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cross-motions reveals no genuine issue of material fact, then judgment may be entered in favor

of the party deserving of judgment in light of the law and undisputed facts.” Id. (citing Iberia

Foods Corp. v. Romeo, 150 F.3d 298, 302 (3d Cir. 1998)). See also Bancorp Bank v. Eckell,

Sparks, Levy, Auerbach, Monte, Rainer & Sloane, P.C., 2016 WL 9776074, at *2 n.1 (E.D. Pa.

Oct. 5, 2016)).

        The RNC argues it is entitled to summary judgment because 1) the Plaintiffs have no

private right of action; 2) Pennsylvania’s Date Requirement does not violate federal law; 3)

specifically, the Date Requirement does not violate the Materiality Provision; and 4) the Date

Requirement does not violate the Equal Protection Clause. See ECF No 271, generally. As

noted above, the Court has rejected these arguments, excepting the equal protection claim. All of

these arguments have been addressed fully in this opinion.

VIII.   Conclusion

        In summary then, fifty-five counties will be dismissed because Plaintiffs have failed to

establish standing against them. Lancaster and Berks Counties’ motion for summary judgment

will be denied since at least one Plaintiff has standing against each county and denied in all other

aspects. The Plaintiffs’ motion for summary judgment will be granted on the claim that the

dating requirement violates the Materiality Provision of the Civil Rights Act. Plaintiffs’ equal

protection claim will be dismissed.

        The RNC’s motion for summary judgment will be denied on the Materiality Provision,

and their claim that the Materiality Provision does not violate equal protection will be dismissed.

        An appropriate order and judgment will be filed separately.




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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF PENNSYLVANIA


 PENNSYLVANIA STATE CONFERENCE                   )
 OF THE NAACP, et al.,                           )
                                                 ) Civil Action No.: 1:22-cv-00339
                Plaintiffs,                      )
                                                 )
          v.                                     ) Judge Susan P. Baxter
                                                 )
 AL SCHMIDT, et al.,                             )
                                                 )
                Defendants.                      )

                              DECLARATION OF ANGELA ALLEMAN

       Pursuant to 28 U.S.C. § 1746, I, Angela Alleman, declare as follows:

       1.      I am over the age of 18 and am otherwise competent to testify.

       2.      I have personal knowledge of the matters in this declaration.

       3.      I am currently the Executive Director of the Republican Party of Pennsylvania (the

“RPP”).

       4.      The RPP is a major political party, 25 P.S. § 2831(a), and the “State committee”

for the Republican Party in Pennsylvania, 25 P.S. § 2834, as well as a federally registered “State

Committee” of the Republican Party as defined by 52 U.S.C. § 30101(15).

       5.      The RPP supports and seeks to uphold free and fair elections for all Pennsylvanians.

       6.      The RPP has a substantial and particularized interest in ensuring that Pennsylvania

carries out free and fair elections consistently throughout the Commonwealth.

       7.      The RPP’s members include all registered Republican voters, candidates, and

officeholders in Pennsylvania.

       8.      The RPP’s mission includes supporting Republican candidates for federal, state,

and local office in Pennsylvania and preserving and promoting a free and fair electoral

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environment in which Republican candidates can win election.

       9.      Accordingly, the RPP, on behalf of itself and its members, including its voters,

nominates, promotes, and assists Republican candidates seeking election or appointment to

federal, state, and local office in Pennsylvania.

       10.     Additionally, the RPP devotes substantial resources toward educating, mobilizing,

assisting, and turning out voters in Pennsylvania.

       11.     RPP has statutory rights to appoint both poll watchers to observe casting, counting,

and canvassing of ballots at the polling place, 25 P.S. § 2687(a), and an “authorized representative”

to “remain in the room” at the county board of elections and observe the pre-canvass and canvass

of “absentee ballots and mail-in ballots,” id. §§ 3146.8(g)(1.1)-(2).

       12.     RPP has exercised these statutory rights in the past several election cycles and is

doing so again for the 2024 elections.

       13.     In conjunction with its Election Day Operations (“EDO”), the RPP devotes

substantial time and resources toward the recruitment and training of poll workers, poll watchers,

and volunteers throughout the 67 counties of the Commonwealth to assist voters on election day,

to observe the casting and counting of ballots at the polling place, and to observe the pre-canvass

and canvass of absentee and mail-in ballots at the county board of elections.

       14.     As part of its EDO, the RPP also devotes substantial time and resources toward the

recruitment and training of a “ground team” of lawyers throughout the Commonwealth who stand

ready on Election Day to assist poll workers, poll watchers, and volunteers should questions arise

as to elections laws or the voting process within the Commonwealth.

       15.     The RPP has devoted substantial time and resources in mobilizing and educating

voters in Pennsylvania in the past many election cycles and will do so again in 2024.



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       16.     Each of the RPP’s EDO, training, and voter education programs relies upon,

utilizes, and is built upon the clear language of the Election Code.

       17.     In particular, following the enactment of Act 77, which fundamentally changed the

manner in which Pennsylvanians are permitted to vote, most notably by providing a new universal

mail-in voting regime, RPP significantly updated and altered its EDO, training, and voter

education programs.

       18.     Following the enactment of Act 77, RPP substantially increased the amount of its

time and resources dedicated to educating voters, poll workers, poll watchers, volunteers, and its

legal teams throughout Pennsylvania’s 67 counties regarding the provisions of Act 77.

       19.     RPP’s EDO, training, and voter education programs include training and

information regarding the requirements for voters to cast lawful and valid ballots, and the

governing rules delineating unlawful and invalid ballots and preventing election officials from pre-

canvassing, canvassing, or counting such ballots.

       20.     I am aware that, in a case brought by the RPP and other parties, the Pennsylvania

Supreme Court held that General Assembly’s date requirement for absentee and mail-in ballots is

mandatory and that non-compliant ballots may not be counted. See Ball v. Chapman, No. 102 MM

2022 (Pa. Nov. 1, 2022) (per curiam).

       21.     I am aware that, before the Court entered its summary judgment order in this case,

the law in Pennsylvania was that undated or incorrectly dated absentee and mail-in ballots would

not be counted.

       22.     I am aware that the Court’s summary judgment order declares that 12 county boards

of elections—Allegheny, Berks, Bucks, Lancaster, Lehigh, Montgomery, Northampton,

Philadelphia, Washington, Warren, Westmoreland, and York—may not enforce the date



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requirement and must count undated or incorrectly dated absentee and mail-in ballots.

        23.     I am also aware that the Court’s summary judgment order does not changes the

rules for the other 55 county boards of elections in Pennsylvania.

        24.     RPP’s EDO, training, and voter education programs include training and

information regarding the General Assembly’s date requirement.

        25.     The change in the governing law around the date requirement that the Court’s

summary judgment order has purported to make harms the RPP by rendering its EDO, training,

and voter education programs less effective, wasting the resources they have devoted to such

programs, and requiring them to expend new resources to update those programs.

        26.     In particular, so long as the Court’s summary judgment order is not stayed or

reversed, the RPP will be required to alter its statewide EDO, training, and voter education programs

to specify that the date requirement is valid and mandatory in 55 counties but not in the 12 counties

covered by the order.

        27.     If the RPP alters its EDO, training, and voter education programs to reflect the

Court’s order, it will again have to alter those materials if the Court’s order is stayed or reversed in

the future.

        28.     Altering its statewide EDO, training, and voter education programs will require the

RPP to divert resources from its intended mission of nominating, promoting, and assisting

Republican candidates in Pennsylvania and of educating, mobilizing, assisting, and turning out

voters in Pennsylvania.

        29.     The RPP also has a strong interest in preserving its victory in Ball v. Chapman, which

upheld uniform, mandatory application of the General Assembly’s date requirement across all

Pennsylvania counties and, thus, contributes to free and fair elections on behalf of all



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Pennsylvanians.

        30.     The Court’s summary judgment order undermines this interest by declaring the date

requirement non-mandatory in 12 Pennsylvania counties, creating disuniformity in application of

the date requirement across Pennsylvania, and undermining free and fair elections on behalf of all

Pennsylvanians.

        31.     Thus, if left uncorrected, the Court’s summary judgment order threatens to create

voter confusion, to reduce voter confidence in the integrity of Pennsylvania’s elections, and to

decrease voter turnout in Pennsylvania, including by members of the RPP.

        32.     The Court’s summary judgment order also alters the competitive environment

surrounding elections in Pennsylvania in which the RPP, its members, its voters, and its candidates

exercise their constitutional rights to vote and to participate.

        33.     The Court’s summary judgment order harms the electoral prospects of Republican

candidates in Pennsylvania; makes it more difficult for the RPP, its members, its voters, and its

candidates to win elections; and may change the outcome of elections in Pennsylvania.

        34.     Including in the official vote total ballots that did not comply with the date

requirement has flipped the result in three elections in Pennsylvania since 2020. In each of those

elections, the Republican candidate would have prevailed if the noncompliant ballots had not been

included in the vote total. In other words, in each of those elections, including the noncompliant

ballots in the vote total flipped the outcome and resulted in a Democratic candidate being declared

the winner and a Republican candidate being declared the loser.

        35.     The first was the State Senate race involving Republican Nicole Ziccarelli in 2020.

See In re Canvass of Absentee and Mail-in Ballots of November 3, 2020 General Election, 241

A.3d 1058 (Pa. 2020).



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       36.     The second was the Court of Common Pleas race involving Republican David

Ritter in 2021. See Migliori v. Cohen, 36 F.4th 153, cert. granted and judgment vacated, Ritter v.

Migliori, 143 S. Ct. 297 (2022)

       37.     In the third, the Court’s order has changed the apparent result of the November

2023 election for Towamencin Township Board of Supervisors (Montgomery County). The

Republican candidate, Richard Marino, prevailed by 4 votes over his Democratic challenger, Kofi

Osei, with all ballots counted under the rules in effect on election day, November 7, 2023. This

Court’s order issued two weeks later. Invoking that order, the Montgomery County Board of

Elections counted six ballots that did not comply with the date requirement. Including those ballots

in the vote total resulted in a tie between Mr. Marino and Mr. Osei. On November 30, 2023, the

Montgomery County Board of Elections resolved that tie through a casting of lots by which Mr.

Osei was declared the winner.

       38.     Any delay in, or denial of, Mr. Marino taking the office to which Towamencin

Township voters elected him under the rules in effect on Election Day 2023 irreparably harms

RPP’s interest in electing Republican candidates, having Republican officeholders serve, and

having officeholders implement Republican-support policies. Any such delay or denial also

irreparably harms Mr. Marino, who has an interest in continuing his service in office as a

Republican. And any such delay or denial irreparably harms the voters, including Republican

voters, who voted for Mr. Marino and reelected him under the rules in effect on election day.

       39.     I declare under penalty of perjury that the foregoing is true and correct.




          12/1/2023
  Date:_____________________
                                              Angela Alleman

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